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Saw Trump is appealing Jan 10 2025 sentencing/Not attorney advice/Alternative
arguments congressional threats against Merchan by subpoening his kid to compel
incrimination and Trump's threats violate due process fairness

From: Meg Kelly (meghankellyesq@yahoo.com)
To:      wus@dany.nyc.gov

Cc:      meghankellyesq@yahoo.com
Date: Thursday, January 30, 2025 at 03:40 PM EST



Hello,

Thank you for being a hero by doing what is right showing all that no one is above the law, nor below the law.

I am in trouble and my license was placed on inactive disabled for suing Trump under the religious freedom
restoration act based on state of DE's disdain for my religious beliefs I sought to safeguard. So, this is not
attorney advice. I am only active before the US Supreme Court now.

Part of my arguments is the desire to safeguard the 5th and 14th Amendment fair right to petition under teh 1st
Am without threats against petitioners (me), David Weiss, judges (Honorable Merchan, Alito, Thomas), or their
kids, Hon. Merchan's kid, wives of USSC, and others to affect the outcome in violation of due process.

Per the news Trump alleges he will appeal the conviction despite no sentence.Donald Trump appeals his New
York hush-money conviction




           Donald Trump appeals his New York hush-
           money conviction
           President seeks to overturn conviction of falsifying records
           in alleged scheme to hide payment to adult film actor




Can you please make alternative arguments, due process was violated by the government by threatening
Merchan through his daughter to affect or influence the outcome of the case, or president elect's threats and
defamatory per se remarks against Merchan to affect the outcome of the case unfairly by threats of harm to
position, person or character.

Per the attached, I wrote in hopes to limit congress and presidential powers or speech so as not to chill and
diminish the people and public's right to petition fairly in accord with due process. US Am I, V, XIV.

They did not listen to me. They may listen to you. You have access to research and resources I do not have
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access to.

This issue is near and dear to the justices hearts since every one of the USSC has faced attacks by people in
Congress on both sides. Your appeal may limit power fort a fair forum and protect all courts even the USSC.

Please think about it.

Thank you for making a difference in my life and in the world by doing the right thing. That makes you a winner
no matter the outcome.

Very truly,
Meg




 ----- Forwarded Message -----
 From: Meg Kelly <meghankellyesq@yahoo.com>
 To: Meg Kelly <meghankellyesq@yahoo.com>; Costa Ryan (DOJ) <ryan.costa@delaware.gov>;
 david.weiss@usdoj.gov <david.weiss@usdoj.gov>; Gail Olson <gail_olson@paed.uscourts.gov>;
 usapae.usattorney@usdoj.gov <usapae.usattorney@usdoj.gov>; Attorneygeneral Info
 <info@attorneygeneral.gov>; usapaw.webmaster@usdoj.gov <usapaw.webmaster@usdoj.gov>; Ike Adams
 <iadams@sidley.com>; Tim Mastrogiacomo <tmastro@gmail.com>; Matthew
 <matthewkosiorek@comcast.net>; Bradd Grossman <braddgrossman@gmail.com>; Cris Barrish
 <cbarrish@whyy.org>; Darin McCann <darin.mccann@coastalpoint.com>; Glenn Rolphe
 <grolfe@newszap.com>; Glenn Rolfe <grolfe@iniusa.org>; Harriet Brumberg
 <harriet.brumberg@pacourts.us>; Anthony Sodroski <anthony.sodroski@pacourts.us>; Parker Bethany
 (Courts) <bethany.parker@delaware.gov>
 Sent: Saturday, January 25, 2025 at 05:03:15 PM EST
 Subject: Not merely economic change but an overthrow/Opponents may be heroes to save the US and the
 world

 Hello,

 I am really freaked out and know the courts, attorney generals and petitioners are in danger by an intended
 elimination of the rule of law for a time of lawlessness misleading most of humanity to give into temptation to
 lose their eternal lives to gain a crappy part of the world.

 Attached are some petitions I presented to the US Supreme Court WHERE I AM TRYING to protect the court
 from giving into temptation of hurting itself, hurting AGs capacity to petition in accord with DP and petitioners
 capacity to petition in accord with DP. Without protecting the petition the courts are powerless, which is the
 plan to eliminate freedom for business.

 The only reason why I ran for office in 2018 was to stand up for my deceased attorney friend Richard Goll
 ("Dick")and others from nonlawyers lawyering harming many. Dick was exploited by non lawyers lawyering in
 place of lawyers. I lamented to everyone but no one did anything about nonlawyers lawyering harming the
 people and public. The DE ODC Kathleen Vavla was irritated aI reported the problem to her back in 2018. So,
 I tried to do something about it. I ran for office, but I lost. My own party democrats took down my pamphlets
 and asked me not to run because I was not compromised to collective agendas instead of doing what was
 right. Plus I oppose fundraising on religious grounds. I believe people go to hell for organized charity and
 fundraising per Jesus's teachings Matthew 6:1-4. I am not for sale and I am not going to buy votes. Votes are
 not a freedom if they for sale not based on free choice but economically forced choice. That is naughty.

 I learned there were people talking about eliminating judges and the rule of law to reign by temptations like
 devils, lawless people, to be controlled not free by those who control the resources or the channels of
 necessities or those who rule by physical, social or economic threats by eliminating freedom by government
 backed and colluding substantial burdens.

 It is true I believe the founders booby trapped us and created poison pills in our Constitution to cause the US
 to dissolve to be enslaved not free under the debt provisions and full faith and credit provisions.
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There are other plans for harm too. I intend to protect my opponents, the courts and my life and liberty even
when I petition to correct not destroy them.

Can you please work with me and try to understand the dangers PLEASE.

I oppose elimination of life tenure and judicial disciplinary rules and procedures.

You may be my opponents but you are my hope of a hero.

The courts and government violate equal protections and I believe sin risking hell when they defer to experts,
professionals, their product, science, or service or delegate duties. As repugnant as it is Jesus teaches most
people go to hell, bummer.

I believe people sin by deferring to science, experts, professionals, money, their product or service
unrestrained by love or just rule of law to prevent slavery or human sacrifice under the guise of public good,
common good, and such. I believe they may be saved from sin and death in hell if they stop sinning ie repent.
It is idolatry to defer to man or man's creation as God, especially based on affiliation like presidency. Plato
taught Satan's model of rulers not servants in republic as opposed to our democratic republic founded in 1791
not 1776 with the people and public's constitutional legal power of the petition coupled with due process fair
opportunity to be heard in a nation of humble laws, where no one is God, all are humbled by the check of the
people and public.

Not knowing is guilt, bummer by idolatry causing hardness of hearts and hardness of heads, a type of
blindness and dumbness of not knowing that damns people to eternal death. That is why courts and attorney
generals are so important because you can correct people blinded by desire to care for their own or please
the vanity of the many that they harm, oppress,enslave or sacrifice others under the lie of lawless people
public good, common good, collective good. Slavery and human sacrifice is always naughty.

Even courts need guidance so they are not led astray to harm themselves and others.

There is an overthrow schemed, a new economic model with new corporate structures.

I think the reason why Jesus teaches most people go to hell is that money is created out of debt plus interest
that cannot be paid off by design, and because governments collude with private and foreign partners instead
of governing and guiding to prevent harm. Governments sustain pain to sustain their partners power and profit
streams when they seek to create jobs, improve the economy and such.

In Kelly v Trump I write about that temptation which may be removed. :(

People are tricked by making money guide, savior or God, when it is a debt instrument designed to trick the
people into being the evil harming one another to get as much as they can for as little, only to be damned to
hell, bummer. The talk about debt ceilings is all deception. Money is sin. Money is lawlessness because it is a
debt instrument not merely a means of exchange. The bible teaches damned to hell are you if you lend out
anything for profit or interest instead of merely for return should we not repent. The new economy is based on
violating Ezekiel 18:13 on steroids by elimination of private property and renting out everything and everyone
at profit in a subscription model. All will be tempted to be damned to hell. It is horrible. They intend to eliminate
the rule of law to eliminate then governments to rule by the mark of death in hell business unrestrained
eliminating every freedom under the lie of consent in a forced market.

Oh my gosh. There is an overthrow schemed and the courts I seek to save keep tanning my butt.

Please know if I petition to make Trump pay or protect you should he foreseeably withhold pay or make other
threats to rule over no longer free Attorney generals or courts, it is done in good faith because I believe you
are in trouble, meaning we all are in trouble.

We cannot let Jack Smith get hurt either. We have to protect petitioners and the right to petition without
prejudice based on affiliation or viewpoint, meaning we have to protect people we disagree with too. How will
we learn or get smarter if only one view is acceptable and no one is free just forced to think based on the
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Presidential one person view.

No Trump v US 939 really eliminated the rule of law. We need to fight to get it back before Trump and Musk
manipulates the courts to eliminate them. I get it the USSC members are scared. I intend to protect the court
even when I disagree with them.

I am copying the law librarian. In case I am taken out because I think she is super smart. She can help judges
research should their pay be conditioned to control a no longer impartial judiciary. Coining correctly without
slavery debt that tempts people to harm the people to profit off of more debt creation of money to pay those
the government owes and is owned by would resolve problems. A government must not be owned or be a
debtor of anyone. Otherwise it is ruled and owned not free. I really do have religious objections against debt.

We can create new entities to store value that allow people to buy and sell by free choice not government
standardized subpar forced choice or go without like our current model, Plato's terribly sinful model.

We do not have to create money through banks or through businesses like Walmart (corporate and beneficial
entities, new corporate structure) who are starting to bank to take over the banks as schemed by businesses.

With great sadness,
Meg




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     3 of 3 Signed signature Civil rights complaint March 8 2024.pdf
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     Donald Trump appeals his New York hush-money conviction _ Donald Trump trials _ The Guardian.pdf
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Re: Saw Trump is appealing Jan 10 2025 sentencing/Not attorney advice/Alternative
arguments congressional threats against Merchan by subpoening his kid to compel
incrimination and Trump's threats violate due process fairness

From: Meg Kelly (meghankellyesq@yahoo.com)

To:      wus@dany.nyc.gov

Cc:      meghankellyesq@yahoo.com

Date: Thursday, January 30, 2025 at 03:47 PM EST



Can you argue that Judge Merchan should be permitted to re sentence Trump in safety without threats?

 Alternatively, after Trump leaves office can you say due process was violated at sentencing to reopen the case
past the normal limits to allow Trump to be sentenced fairly not based on threats.

I just don't know. I know that the Court personally faces threats to affect teh outcome of cases. Maybe they will
listen to you because they do not listen to me.

Thank you,
Meg

 On Thursday, January 30, 2025 at 03:40:35 PM EST, Meg Kelly <meghankellyesq@yahoo.com> wrote:


 Hello,

 Thank you for being a hero by doing what is right showing all that no one is above the law, nor below the law.

 I am in trouble and my license was placed on inactive disabled for suing Trump under the religious freedom
 restoration act based on state of DE's disdain for my religious beliefs I sought to safeguard. So, this is not
 attorney advice. I am only active before the US Supreme Court now.

 Part of my arguments is the desire to safeguard the 5th and 14th Amendment fair right to petition under teh
 1st Am without threats against petitioners (me), David Weiss, judges (Honorable Merchan, Alito, Thomas), or
 their kids, Hon. Merchan's kid, wives of USSC, and others to affect the outcome in violation of due process.

 Per the news Trump alleges he will appeal the conviction despite no sentence.Donald Trump appeals his New
 York hush-money conviction
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Fw: DC Case funding for NGO partners Fw: Splits 5th circ v 3rd, 6,th 7th 8th 10th not sure other circuits Re:
RI attorneys help them is you can/US Supreme Court response due Feb 28 2025/ 24A831 department of
State v you/Meg doesn't think gov pensions and social security are protected but will be vitiated too
unless we change errant law too

From: Meg Kelly (meghankellyesq@yahoo.com)

To:    galen.wilson@delaware.gov; bethany.parker@delaware.gov; margaret.naylor@delaware.gov

Cc:    meghankellyesq@yahoo.com

Date: Thursday, February 27, 2025 at 09:45 AM EST



Hi sorry for the typos. I meant to say Gov Shapiro, not God Shapiro. I am a terrible typist.

There are plans to eliminate your position by automation, and to eliminate official positions in state and local government too. then, to
screw people out of retirement and social security.

I am trying to persuade my opponents and attorney generals and those in active cases to do so.

thank you for helping me. Should they succeed, it is because of your help too.

Thank you. I think you three are smarter than normal lawyers because you can research yourself to protect your own pay, pension and
social security. There are attorneys in battle now fighting part of the good fight with words not weapons to care for not enslave and destroy
people for moth and rest under the guise human sacrifice for material gain is for the public good like naughty mayans throwing people into
volcanoes in exchanged for belief in the lie of better crops. it is dubious deception.

Love
meg



 ----- Forwarded Message -----
 From: Meg Kelly <meghankellyesq@yahoo.com>
 To: usapae.usattorney@usdoj.gov <usapae.usattorney@usdoj.gov>; usapaw.webmaster@usdoj.gov <usapaw.webmaster@usdoj.gov>;
 usapam.contact@usdoj.gov <usapam.contact@usdoj.gov>; Attorneygeneral Info <info@attorneygeneral.gov>; Harriet Brumberg
 <harriet.brumberg@pacourts.us>; Anthony Sodroski <anthony.sodroski@pacourts.us>; Costa Ryan (DOJ) <ryan.costa@delaware.gov>;
 david.weiss@usdoj.gov <david.weiss@usdoj.gov>; Meg Kelly <meghankellyesq@yahoo.com>
 Sent: Thursday, February 27, 2025 at 12:44:39 AM EST
 Subject: Fw: DC Case funding for NGO partners Fw: Splits 5th circ v 3rd, 6,th 7th 8th 10th not sure other circuits Re: RI attorneys help
 them is you can/US Supreme Court response due Feb 28 2025/ 24A831 department of State v you/Meg doesn't think gov pensions and
 social security are protected but will be vitiated too unless we change errant law too

 PA and the Third Circuit appears not to protect state/federal/local government positions as much as the 5th, but I just see that AGs are
 fired even in the 5th Circuit unfairly

 In saw PA Governor Shapiro sued Trump, was appointed by Trump in a Board of Governor's favorable position. Then PA God Shapiro
 said Trump released funds to him potentially causing him to drop the law suit by backroom deal only to hurt PA later if not more
 imminently. That was weird.

 I do not have easy access to research. Please try to protect your pensions and social security by researching now before it is eliminated.
 So you are more capable of fighting to fully fund it.

 All government employees are in danger regardless of affiliation. Errant case law may be used by both parties wrongly.

 Please help others fight for your cause too. Without you there is no government.

 Thank you,
 Meg

 ----- Forwarded Message -----
 From: Meg Kelly <meghankellyesq@yahoo.com>
 To: WUS@DANY.NYC.GOV <wus@dany.nyc.gov>
 Cc: Meg Kelly <meghankellyesq@yahoo.com>
 Sent: Thursday, February 27, 2025 at 12:31:14 AM EST
 Subject: DC Case funding for NGO partners Fw: Splits 5th circ v 3rd, 6,th 7th 8th 10th not sure other circuits Re: RI attorneys help them
 is you can/US Supreme Court response due Feb 28 2025/ 24A831 department of State v you/Meg doesn't think gov pensions and social
 security are protected but will be vitiated too unless we change errant law too

 Hello,

 You are brilliant. Can you please help them below if you have any good ideas.

 Thank you. None of the US District Attorneys are nominated and confirmed yet. They are sitting attorneys beholden to Trump to get
 security in their seats. MY District AG Weiss left Jan 21. I had to call the District Court to indicate their web site was wrong. We have
 sitting not confirmed US AGs in most districts.
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That means they will not likely restrain Trump from violating Constitutional laws.

You are our hope of a hero. You actually are already a hero for doing the right thing, win or lose that matters most. It makes you a
winner. Thank you.
Meg

----- Forwarded Message -----
From: Meg Kelly <meghankellyesq@yahoo.com>
To: jmorton@democracyforward.org <jmorton@democracyforward.org>; kfriedl@democracyforward.org
<kfriedl@democracyforward.org>; kgolden@democracyforward.org <kgolden@democracyforward.org>;
rthurston@democracyforward.org <rthurston@democracyforward.org>; sperryman@democracyforward.org
<sperryman@democracyforward.org>; vanessa.kassab@delaware.gov <vanessa.kassab@delaware.gov>
Cc: laura.faer@doj.ca.gov <laura.faer@doj.ca.gov>; alex.hemmer@ilag.gov <alex.hemmer@ilag.gov>; Angela.Cai@njoag.gov
<angela.cai@njoag.gov>; katherine.dirks@mass.gov <katherine.dirks@mass.gov>; Joshua.Bendor@azag.gov
<joshua.bendor@azag.gov>; Shannon.Stevenson@coag.gov <shannon.stevenson@coag.gov>; Michael.skold@ct.gov
<michael.skold@ct.gov>; ian.liston@delaware.gov <ian.liston@delaware.gov>; Andrew.mendrala@dc.gov
<andrew.mendrala@dc.gov>; kaliko.d.fernandes@hawaii.gov <kaliko.d.fernandes@hawaii.gov>; jason.anton@maine.gov
<jason.anton@maine.gov>; akirschner@oag.state.md.us <akirschner@oag.state.md.us>; Banghart-LinnL@michigan.gov <banghart-
linnl@michigan.gov>; liz.kramer@ag.state.mn.us <liz.kramer@ag.state.mn.us>; HStern@ag.nv.gov <hstern@ag.nv.gov>;
dmosteller@ncdoj.gov <dmosteller@ncdoj.gov>; asamant@nmdoj.gov <asamant@nmdoj.gov>; Tina.BeattyWalters@doj.oregon.gov
<tina.beattywalters@doj.oregon.gov>; Jonathan.rose@vermont.gov <jonathan.rose@vermont.gov>; andrew.hughes@atg.wa.gov
<andrew.hughes@atg.wa.gov>; leah.brown@atg.wa.gov <leah.brown@atg.wa.gov>; bibbaj@doj.state.wi.us <bibbaj@doj.state.wi.us>;
Meg Kelly <meghankellyesq@yahoo.com>
Sent: Thursday, February 27, 2025 at 12:21:00 AM EST
Subject: Splits 5th circ v 3rd, 6,th 7th 8th 10th not sure other circuits Re: RI attorneys help them is you can/US Supreme Court
response due Feb 28 2025/ 24A831 department of State v you/Meg doesn't think gov pensions and social security are protected but will
be vitiated too unless we change errant law too

Can you use the potential split based on affiliation? ie mass firing by defunding by past administration, political appointment of pay???? I
am pulling from thin air out of my heart. The court focuses too much on splits to evade due process notice requirements by not
protecting the underlying claims to protect life and liberty. I hate that the court cares about splits based on positions to defend to
terminate pay and positions. :(

God help you by having the courage to help one another.
Thank you,
Meg

On Thursday, February 27, 2025 at 12:13:56 AM EST, Meg Kelly <meghankellyesq@yahoo.com> wrote:



I am so discouraged The 5th Circuit seems to throw away attorney generals too argh. I thought that circuit had more favorable
protections from executive firings, which defunding does. :( The Free Speech of Public Employees at a Time of Political Polarization:
Clarifying the Pickering Balancing Test | Published in Houston Law Review




    The Free Speech of Public Employees at a Time
    of Political Polarization:...
    Ofer Raban
    By Ofer Raban. 60 Hous. L. Rev. 653 (2023)

,

Is there a separation of power issue? Congress delegates funding. Can the Attorney Generals Taking Care argument to distribute
funding as Congress proposed help you?

I do not have means to research, but I hope AGs help us by helping you too by preventing Trump from eliminating the rule of law
unrestrained by courts if it were not for petitioners like you.

Thank you,
Meg

----- Forwarded Message -----
From: Meg Kelly <meghankellyesq@yahoo.com>
To: Wilson, Galen (Courts) <galen.wilson@delaware.gov>; Parker Bethany (Courts) <bethany.parker@delaware.gov>; Naylor Margaret
(Courts) <margaret.naylor@delaware.gov>; Meg Kelly <meghankellyesq@yahoo.com>
Sent: Wednesday, February 26, 2025 at 03:06:33 PM EST
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Subject: Thank you Galen and Bethany Could New cite may work/5th only circuit meg found may prevent political firings of state local
3rd circuit stinks case law throws people away bummer Could you please try the US Supreme Ct cite for shepherds and annotations
instead of the 5th


Thank you both. Could you try this different cite please for the United States Supreme Court opinion at Pickering v. Bd. of Ed., 391 U.S.
563, 568 (1968)

This is to protect public employees from being eliminated due to partiality in firing and hiring people beholden to those who appoint at
state level too.

The Third Circuit stinks and allows axing people which is a bummer. We are wrong in our circuit. the 5th circuit affords a test the 3rd and
7th reject to protect people.

I was only granted a temp password to research this in 2023. So I wanted to make sure there is still a jxn that protects state and local
employees from mass firiing. Either alito or kavanaugh is charged with applications in the 5th cir. They are not protective of freedom but
abuse of power by presidents bummer. :( This is not legal advice. Just trying to research.

Thank you,
Meg

"The Supreme Court has unequivocally rejected the notion that public
employees forfeit their right to freedom of speech by virtue of their public
employment. Pickering v. Bd. of Ed., 391 U.S. 563, 568 (1968). However, the
Court has also recognized that the State has an interest in regulating the
speech of its employees. Id. When presented with these competing interests,
courts are directed to “arrive at a balance between the interests of the [public
employee], as a citizen, in commenting upon matters of public concern and the
interest of the State, as an employer, in promoting the efficiency of the public
services it performs through its employees.” Id.
To determine whether the public employee"


On Wednesday, February 26, 2025 at 02:39:34 PM EST, Wilson, Galen (Courts) <galen.wilson@delaware.gov> wrote:



Hello Meg,



Unfortunately we haven’t had a lot of success on this one. We were not able to find the case on Lexis at all (I asked
Bethany to double check just in case I was missing something, and she couldn’t find it either). I was able to find it on
Westlaw, but it didn’t have much in the History or Citing References sections. What it did have, I am sending to you.
Sorry we couldn’t be more helpful this time.



Galen




From: Meg Kelly <meghankellyesq@yahoo.com>
Sent: Wednesday, February 26, 2025 12:51 PM
To: Wilson, Galen (Courts) <Galen.Wilson@delaware.gov>
Cc: Meg Kelly <meghankellyesq@yahoo.com>
Subject: Hi Galen Thank you May I please have the shepherds report and annotations to U.S. v. Pickering*, 138 F.3d
952 (5th Cir. 1998) Thank you


Hi Galen,



May I please have the shepherds report and annotations for the 5th circuit case


U.S. v. Pickering*, 138 F.3d 952 (5th Cir. 1998)
The 5th circuit does not permit executive officers to blindly fire staff for political reasons. Even loyal, people to trump may be stabbed
in the back should they contest new ideas especially us attorneys in district states.



I cut in past from 2023 but the case law below shows a split. i want make sure its not resolved yet.
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This was from 2023 notes: "Thus, the Pickering balancing test would apply to such a retaliatory action. We realize that this decision
places us squarely in conflict with several other circuits, a posture we do not adopt lightly. We also agree with the Seventh and Third
Circuits that this is an area in which Supreme Court guidance is particularly needed."

Umbehr v. McClure, 44 F.3d 876, 883 (10th Cir. 1995)



A number of other courts have held that governments may award or terminate public contracts on the basis of political affiliation or
support. See Triad Assocs., Inc. v. Chicago Hous. Auth., 892 F.2d 583 (7th Cir. 1989) (holding that independent contractor claiming
loss of and denial of contracts because of political affiliation was not protected by First Amendment), cert. denied, 498 U.S. 845, 111
S.Ct. 129, 112 L.Ed.2d 97 (1990); LaFalce v. Houston, 712 F.2d 292 (7th Cir. 1983) (holding that independent contractor claiming
denial of public contract because of political affiliation was not protected by First Amendment), cert. denied, 464 U.S. 1044, 104 S.Ct.
712, 79 L.Ed.2d 175 (1984); Horn v. Kean, 796 F.2d 668 (3d Cir. 1986) (en banc) (holding that independent contractors whose
contracts were terminated following a change in administration were not protected by the First Amendment); Sweeney v. Bond, 669
F.2d 542, 545 (8th Cir.) (holding that fee agents who were not employees but were "`more in the nature of independent contractors'"
who were dismissed following a change in administration were not protected by the First Amendment), cert. denied, 459 U.S. 878,
103 S.Ct. 174, 74 L.Ed.2d 143 (1982); Ambrose v. Knotts, 865 F. Supp. 342, 345 (S.D.W.Va. Oct. 17, 1994) (holding that
independent contractor claiming termination of contract in retaliation for petition was not protected by First Amendment); O'Hare
Truck Serv., Inc. v. City of Northlake, 843 F. Supp. 1231, 1234 (N.D.Ill. 1994) (holding that independent contractor claiming removal
from city towing rotation list because of political affiliation was not protected by First Amendment); Inner City Leasing and Trucking
Co. v. City of Gary, 759 F. Supp. 461, 464 (N.D.Ind. 1990) (holding that independent contractor claiming termination of contract
because of political affiliation not protected by First Amendment); MEDCARE HMO v. Bradley, 788 F. Supp. 1460, 1464-66 (N.D.Ill.
1992) (holding that independent contractor claiming termination of contract because of lobbying and other political activities not
protected by First Amendment); see also Lundblad v. Celeste, 874 F.2d 1097, 1102 (6th Cir.), vacated, 882 F.2d 207 (6th Cir. 1989),
reinstated in pertinent part, 924 F.2d 627 (6th Cir. 1991) (en banc) (holding that it was not clearly established that independent
contractor claiming denial of public contract because of political affiliation was protected under First Amendment), cert. denied, 501
U.S. 1250, 111 S.Ct. 2889, 115 L.Ed.2d 1054 (1991). But see Horn, 796 F.2d at 680-85 (Gibbons, Sloviter, Mansmannt, Stapleton,
JJ., dissenting) (rejecting view that independent contractors can be treated differently than employees for First Amendment
purposes).
Our own circuit has suggested, without analysis, that independent contractors do enjoy protection against retaliation for the exercise
of First Amendment rights. Abercrombie, 896 F.2d at 1233. In Abercrombie, the Plaintiff was the owner of a wrecker business who
received referrals from the City of Catoosa police chief. The Plaintiff had received all wrecker referrals from the police for a period of
time, but after testifying in court as a witness in a suit against the city, he no longer received all wrecker referrals; instead he shared
them with another wrecker company. After campaigning on behalf of a mayoral candidate running against the incumbent mayor, the
Plaintiff was removed entirely from the police department's wrecker rotation log. He brought a section 1983 action against the city,
the police chief, and the mayor, claiming, inter alia, that he had been deprived of a property interest without due process and that
Defendants had retaliated against him for the exercise of his First Amendment rights.
Umbehr v. McClure, 44 F.3d 876, 879-80 (10th Cir. 1995)



Lundblad v. Celeste, 924 F.2d 627, 628 (6th Cir. 1991);(“ We conclude that no legal principles developed under the Equal Protection
Clause "clearly establish" that state officials may not award public contracts on the basis of partisan politics or party affiliation. In
Rutan v. Republican Party of Illinois, ___ U.S. ___, 110 S.Ct. 2729, 111 L.Ed.2d 52 (1990), Branti v. Finkel, 445 U.S. 507, 100 S.Ct.
1287, 63 L.Ed.2d 574 (1980), and Elrod v. Burns, 427 U.S. 347, 96 S.Ct. 2673, 49 L.Ed.2d 547 (1976), the Supreme Court has
developed principles under the First Amendment prohibiting the hiring and firing of employees on a partisan political basis, but the
Court has not developed such principles under the Equal Protection Clause, nor has it extended these First Amendment principles to
the area of public contracts. “); Labalokie v. Capitol Area Interm. Unit, 926 F. Supp. 503, 507 (M.D. Pa. 1996) (“Clearly, partisan
politics lies at the very core of our democratic process, and just as clear is the notion that permitting those who hold public office to
employ independent contractors based on political party affiliation provides an effective method to implement the administrations’
program. Policy implementation is just as important as policymaking”); ” Downtown Auto Parks, Inc. v. City of Milwaukee, 938 F.2d
705, 708 (7th Cir. 1991);POTENTIAL SPLIT But see, McBee v. Jim Hogg County, 730 F.2d 1009, 1026-18 (5th Cir. 1984) (“The spoils
system, which views public employment as pure political patronage, inhibits the free functioning of the electoral process.
‘Conditioning public employment on partisan support prevents support of competing political interest.’ By holding a public employee's
job hostage to his political activities or affiliation, the rebirth of the spoils system sanctioned by the majority allows an incumbent or a
victorious challenger to accomplish indirectly what neither could legally do by mandate: the coercion of political support from the
public employee.”); Elrod v. Burns, 427 U.S. 347, 357 (1976) (“Patronage, therefore, to the extent it compels or restrains belief and
association, is inimical to the process which undergirds our system of government and is "at war with the deeper traditions of
democracy embodied in the First Amendment." Illinois State Employees Union v. Lewis, 473 F.2d, at 576. ”); SPLITS CONTINUED
But see, Umbehr v. McClure, 44 F.3d 876, 879-80 (10th Cir. 1995) (This Court outlined cases in other of other jurisdictions where
independent contractors may be eliminated based on the exercise of First Amendment liberties including speech criticizing politicians
or political groups, and came to the opposite conclusion by protecting independent contractors for political criticism.). It appears
there is a split. The Court in Umbehr v. McClure, 44 F.3d 876, 879-80 (10th Cir. 1995) noted, ( A“number of courts have held that
governments may award or terminate public contracts on the basis of political affiliation or support. See Triad Assocs., Inc. v.
Chicago Hous. Auth.,892 F.2d 583 (7th Cir. 1989) (holding that independent contractor claiming loss of and denial of contracts
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(1990); LaFalce v. Houston,712 F.2d 292 (7th Cir. 1983) (holding that independent contractor claiming denial of public contract
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(1984); Horn v. Kean,796 F.2d 668 (3d Cir. 1986) (en banc) (holding that independent contractors whose contracts were terminated
following a change in administration were not protected by the First Amendment)(emphasis to show our Circuit rules the wrong way
in favor of corruption and the partial application of the rule of law by government money and partial backing); Sweeney v. Bond,669
F.2d 542, 545 (8th Cir.) (holding that fee agents who were not employees but were "`more in the nature of independent contractors'"
who were dismissed following a change in administration were not protected by the First Amendment); Ambrose v. Knotts,865 F.
Supp. 342, 345 (S.D.W.Va. Oct. 17, 1994) (holding that independent contractor claiming termination of contract in retaliation for
petition was not protected by First Amendment); O'Hare Truck Serv., Inc. v. City of Northlake,843 F. Supp. 1231, 1234 (N.D.Ill. 1994)
(holding that independent contractor claiming removal from city towing rotation list because of political affiliation was not protected by
First Amendment); Inner City Leasing and Trucking Co. v. City of Gary,759 F. Supp. 461, 464 (N.D.Ind. 1990) (holding that
independent contractor claiming termination of contract because of political affiliation not protected by First Amendment); MEDCARE
HMO v. Bradley,788 F. Supp. 1460, 1464-66 (N.D.Ill. 1992) (holding that independent contractor claiming termination of contract
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1102 (6th Cir.), vacated,882 F.2d 207 (6th Cir. 1989), reinstated in pertinent part,924 F.2d 627 (6th Cir. 1991) (en banc) (holding that
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680-85 (Gibbons, Sloviter, Mansmannt, Stapleton, JJ., dissenting) (rejecting view that independent contractors can be treated
differently than employees for First Amendment purposes).



I think the third circuit does protect employees firing like the 5th circuit. 6th, 7th, 8th 10th are unfavorable too.



From research state pensions social security may be eliminated with little protections too.



Not only do I believe state, county, local government agents and agencies are in jeopardy to be eliminated for automation, but I think
there's a plan to wipe out their social security and pensions too. 100 years of case law do not protect government pensions or social
security. See, the dicta in Weinberger v. Salfi, 422 U.S. 749, 772 (1975)”); “Like Social Security, and unlike most private pension
plans, railroad retirement benefits are not contractual. Congress may alter, and even eliminate, them at any time.” This should
change to protect those who accept social security, government pay as government employees and government pensions. Also see,
Frisbie v. United States, 157 U.S. 160, 166 (1895) (“The pension granted by the government is a matter of bounty. “No pensioner has
a vested legal right to his pension. Pensions are the bounties of the government, which Congress has the right to give, withhold,
distribute, or recall, at its discretion. Walton v. Cotton, 19 How. 355.” United States v. Teller, 107 U.S. 64, 68.Congress being at liberty
to give or withhold a pension, may prescribe who shall receive it, and determine all the circumstances and conditions under which
any application therefor shall be prosecuted. No man has a legal right to a pension, and no man has a legal right to interfere in the
matter of obtaining pensions for himself or others. The whole control of that matter is within the domain of Congressional power.
United States v. Hall, 98 U.S. 343.”) Federal pay and federal pensions of contracted employees should be protected under the
Contracts Clause to prevent impending harm. Without federal employees, there is no federal government.



Thank you for helping me with the annotations and shepherds report for one case.



I think that I will put aside my other concerns. Please do not think less if me if I sue trump again to protect federal funding to pay you
to prevent planned automation too.



Thank you Galen.



Very truly,

Meg




      1A justice roberts order feb 26 2024 response due.pdf
      44.6kB

      1B trump's appeal.pdf
      274.1kB
:25-cv-00766 Stance Fw: Eliminating     lawyers
                                     Case        to eliminate the law
                                           1:25-cv-00766-JEB          for a time
                                                                  Document       of lawlessness
                                                                              123-1              that tempts
                                                                                      Filed 05/11/25         people
                                                                                                        Page 16 of 80 to give into temptation or lose
the necessities of life only to lose eternal life in hell/super bad

From: Meg Kelly (meghankellyesq@yahoo.com)

To:    nsmith@aclu.org; osarabia@aclu.org; aspitzer@acludc.org; smichelman@acludc.org; lgelernt@aclu.org; dgalindo@aclu.org; agorski@aclu.org; ojadwat@aclu.org; hshamsi@aclu.org;
       ptoomey@aclu.org; strivedi@democracyforward.org; bgirard@democracyforward.org; mwaldman@democracyforward.org; srich@democracyforward.org;
       sperryman@democracyforward.org; awiggins@democracyforward.org; cwofsy@aclu.org; mngo@aclu.org; abhishek.kambli@usdoj.gov; august.flentje@usdoj.gov;
       christina.p.greer@usdoj.gov; drew.c.ensign@usdoj.gov

Cc:    meghankellyesq@yahoo.com; ryan.costa@delaware.gov; david.weiss@usdoj.gov; supremectbriefs@usdoj.gov; info@attorneygeneral.gov; usapae.usattorney@usdoj.gov;
       iadams@sidley.com; tmastro@gmail.com; margaret.naylor@delaware.gov; julie.veroff@doj.ca.gov; supremectbriefs@usdoj.gov; jessie.alloway@alaska.gov;
       henry.whitaker@myfloridalegal.com; edmund.lacour@alabamaag.gov; ccarr@law.ga.gov; josh.turner@ag.idaho.gov; alan.hurst@ag.idaho.gov; eric.wessan@ag.iowa.gov;
       anthony.powell@ag.ks.gov; justin.matheny@ago.ms.gov; samuel.freedlund@ago.mo.gov; josh.divine@ago.mo.gov; anthony.j.galdieri@doj.nh.gov; eric.hamilton@nebraska.gov;
       peter.torstensen@mt.gov; pjaxt@nd.gov; garry.gaskins@oag.ok.gov; esmith@scag.gov; spurser@agutah.gov; paul.swedlund@state.sd.us; lane.polozola@atg.wa.gov;
       joshua.bendor@azag.gov; rebekah.newman@ilag.gov; michael.casper@doj.oregon.gov; katherine.dirks@mass.gov; yael.shavit@mass.gov; elizabeth.carnes-flynn@mass.gov;
       nathaniel.j.hyman@mass.gov; rabia.muqaddam@ag.ny.gov; molly.thomas-jensen@ag.ny.gov; gina.bull@ag.ny.gov; lucia.choi@doj.ca.gov; michael.newman@doj.ca.gov;
       srividya.panchalam@doj.ca.gov; james.stanley@doj.ca.gov; natasha.reyes@doj.ca.gov; david.d.day@hawaii.gov; kaliko.d.fernandes@hawaii.gov; ewan.rayner@hawaii.gov

Date: Thursday, March 20, 2025 at 11:20 AM EDT



Good morning,

My name is Meghan Kelly. I emailed you yesterday about the matter 25-00766 without providing a case number. I tried to call various numbers you provided in your pleading to contact
you by phone yesterday but kept getting a machine. I am not an attorney in DC. I placed my license on retired years ago. I am acting pro se.

Early this morning, I left a message on whether you the plaintiffs would petition concerning President Trump and Congress's impermissible threats to impeach the judge in your trial forum
to affect the outcome of your case by a threatened forum, a threatened appellate forum and a threatened USSC forum also in violation of separation of powers. Art I, Art II, Art III, US
Amend I, V.

I copy my opponent in DE, though I seek to protect his position, pay, pension and bank account too.

I copy the other side in 25-766 to get their position on an amicus brief and IFP Motion due to religious beliefs and poverty creating a substantial burden to my access to the courts.

There appears to be a split in the circuit on government contracts and disposal of government employees based on politics. Case law does not appear to protect social security or
pensions either. (MK Side note, That means case law must change or someone must petition to change it.) See,

There is so much harm schemed but you have standing to protect judges, their family and petitioners from impermissible threats from two branches to commandeer the only branch that
protects individuals and individual liberty from being sacrificed for the fickle ever changing fads of the mob under the lie the vote is consent to eliminate all freedom for the guise of
common good, when it is bad naughty.

So, I left a message asking your stance on an amicus brief should you not assert due process and right to petition violations?

Thank you for your kind consideration. I will also have to file an IFP motion if I do this. I am not sure if interjecting in DC is what I will do, but I am asking in case it is the only means
available to preserve the rule of law, to preserve these United States by defending the impartiality and independence of the courts.

The attorney generals are in danger too. I have an idea to fully fund the government without stealing from Peter to pay Paul too I placed on the record in another court.

I would prefer to argue this in DE, but a shut down did not occur which would have granted me standing.

I previously stated:
55. There is a way to create money without stealing from Peter to pay Paul as
President Lincoln successfully did previously and President Kennedy tried to do. President
Lincoln created debt free, interest free money by signing the Act of Feb.25, 1862, ch. 33 § 1, 12
stat. 345.28. President Kennedy signed FR 5605, Exec. Order No. 11110, which also created
money without debt or interest, albeit after he was murdered it was withdrawn. president Lincoln
was able to pay soldiers who fought in the civil war money without enslaving the people to debt
to create it unjustly through compelled involuntary servitude.
56. The United States Supreme Court indicated President Lincoln’s paper money was
constitutional, overturning a prior case. In Knox v Lee, 79 U.S. 457 (1871), the U.S. Supreme
Court held that the Legal Tender Act, which authorized the printing of paper money, President
Lincoln’s Greenbacks, not redeemable in gold or silver, nor creating debt or incurring interest,
did not violate the U.S. Constitution. In so ruling, the Court reversed its earlier decision in
Hepburn v. Griswold, 8 Wall. 603, 623, 19 L.Ed. 513. There is a way out to reverse or prevent a
planned economic crash, which is designed to eliminate people staff to automation.
57. A court must compel the President and the Treasury to Defendants to coin money
without debt and interest under 31 U.S.C. § 5112 (k) to pay off the national debt in full and to
pay for federal employees and the operations of the federal government for all sums exceeding
the budget given the exigent circumstances.
58. 31 U.S.C. § 5112 (k) allows the Secretary of the Treasury to coin money through
the platinum bullion without debt and interest by her discretion, not the Federal Reserve.
59. The Courts should find it an abuse of discretion not to fund the judiciary [or the government] while
funding the President’s pay and congressional pay. The Courts should find it an abuse of
discretion to be enslaved to any debt to be controlled not free to whomever the government
owes.
...
62. The US Supreme court in Knox indicated it is permissible to create money out of
nothing to fully pay off debts. It is freedom not debt created money that is the treasure.
63. 31 U.S.C. § 5112 (k) provides: “(k) The Secretary may mint and issue platinum
bullion coins and proof platinum coins in accordance with such specifications, designs, varieties,
quantities, denominations, and inscriptions as the Secretary, in the Secretary's discretion, may
prescribe from time to time.”

Ryan you know I believe is sin and that God damns to hell those who create money out of debt secured partially based on other people's deposits, from 10 percent reserves to zero, plus
interest. See Ezekiel 18:13 to confirm the bible teaches people go to hell for lending out at a profit instead of mere return of collateral without repentance. (Hence the planned borrowing
subscription economy violates my religious beliefs on steroids where no one owns anything and pretends to be happy so they are not taken out of their misery and killed, citing WEF 2016
article with my own side notes cutting through the fluff) Money creation by enslaving people to debt that cannot be paid back by design even if gold backed it in part like it did around 2000
BC in Babylon. They could not nor can we pull gold out of thin air to allow for the payment in interest in full. People say it is hard to understand because it is made not to logically work out
to sustain the debt to sustain slavery control on a people who are products not free. Let us clean our hands and coin correctly to care for not control others."

Maybe Plaintiffs may use 31 U.S.C. § 5112 (k) in an argument that others need not be substantially burdened by payments to care for and protect due process rights of immigrants who
should be deemed innocent until proven otherwise in accord with due process. Hypocritic use of God's name while violating God's law in a forced government backed religion by Trump
should not be permitted either. For one example see, Leviticus 19:33-34 ("33 “‘When a foreigner resides among you in your land, do not mistreat them. 34 The foreigner residing among
you must be treated as your native-born. Love them as yourself, for you were foreigners in Egypt. I am the Lord your God.")

I copy and paste from my affidavit filed last in another court.

54. Someone must sue to compel the President and Treasury to coin correctly freely
not out of slavery debt to entice law makers and Presidents to incite debt by war, job corps,
sicknesses or other pain to keep the debt creation money rolling to enrich pockets of their
partners unjustly, while patting their own backs
                                              Case for 1:25-cv-00766-JEB
                                                       enslaving the people by theDocument
                                                                                    pretty words123-1
                                                                                                 job                  Filed 05/11/25          Page 17 of 80
creation. There should be no privatization of the government or partnerships.
55. There is a way to create money without stealing from Peter to pay Paul as
President Lincoln successfully did previously and President Kennedy tried to do. President
Lincoln created debt free, interest free money by signing the Act of Feb.25, 1862, ch. 33 § 1, 12
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planned economic crash, which is designed to eliminate people staff to automation.

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the budget given the exigent circumstances.
58. 31 U.S.C. § 5112 (k) allows the Secretary of the Treasury to coin money through
the platinum bullion without debt and interest by her discretion, not the Federal Reserve.
59. The Courts should find it an abuse of discretion not to fund the judiciary while
funding the President’s pay and congressional pay. The Courts should find it an abuse of
discretion to be enslaved to any debt to be controlled not free to whomever the government
owes.
60. Even if the courts do not yet separate the government from science and private
partnerships yet, so it may restrain private people from enslaving and sacrificing others under the
lie of public good, the courts may consider requiring the President and Treasurer fully fund its
branch and itself to prevent a schemed overthrow with colluders within the government who
attack the government.
61. Sin hurts my heart. Other people’s sins too. It makes me care to do something
about it in hopes the sinner does not harm others, die to be doomed to hell.
62. The US Supreme court in Knox indicated it is permissible to create money out of
nothing to fully pay off debts. It is freedom not debt created money that is the treasure.
63. 31 U.S.C. § 5112 (k) provides: “(k) The Secretary may mint and issue platinum
bullion coins and proof platinum coins in accordance with such specifications, designs, varieties,
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prescribe from time to time.”



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plus interest. See Ezekiel 18:13 to confirm the bible teaches people go to hell for lending out at a profit instead of mere return of collateral without repentance. (Hence the planned
borrowing subscription economy violates my religious beliefs on steroids where no one owns anything and pretends to be happy so they are not taken out of their misery and killed,
citing WEF 2016 article with my own side notes cutting through the fluff) Money creation by enslaving people to debt that cannot be paid back by design even if gold backed it in part
like it did around 2000 BC in Babylon. They could not nor can we pull gold out of thin air to allow for the payment in interest in full. People say it is hard to understand because it is
made not to logically work out to sustain the debt to sustain slavery control on a people who are products not free. Let us clean our hands and coin correctly to care for not control
others.

The Court is the only forum that avaiuls protection for religious and other excercise of beliefs that do not conform to the traditions of men, like mine. Matthew 7:7-9

I am hoping plaintiffs step up to protect the only fair impartial forum, and if not I ask both plaintiffs and defendants their stance should I file permission IFP and Amicus Brief to protect the
forum that makes this nation already great.

Even the courts alluded that congress may have no power to use their power to affect the outcome of cases before it in violation of not only separation of powers but the right to petition
fairly. See what I wrote the USSC which it ignored:
 " Congress through its attorney Todd Garvey even conceded this USSC may limit its investigatory power to protect the superseding rights 1st and 5th Am right to pet. coupled with DP in
cases and controversies so as not to threaten and commandeer the Courts. Art I, Art III. In Congress’s Contempt power and the enforcement of congressional subpoenas: Law, History,
Practice and procedure, in Congressional Research service dated May 12, 2017 at page 4 by Citing Sinclair v. United States, 279 U.S. 263, 295 (1929), holding, “It may be conceded that
Congress is without authority to compel disclosure for the purpose of aiding the prosecution of pending suits; but the authority of that body, directly or through its committees to require
pertinent disclosures in aid of its own constitutional power is not abridged because the information sought to be elicited may also be of use in such suits.” Id I asked this USSC to make
this the limit by law to prevent threats towards judges, their wives, their kids or themselves by Congress’s improper use of investigatory or impeachment powers to commandeer the court
in violation of separation of Article I and Article III powers where congress seeks to act in place of Art III judges and in violation of my 1st and 5th Am rights as applied." unfortunately the
USSC denied my petitions of consideration.

Congress is not Art III judge. Congressional Research services, Congress’s Contempt power and enforcement of congressional subpoenas: Law, History, Practice and Procedure, by Todd
Garvey legislative Attorney May 12, 2017 Congress appears to seek to use the purse strings like a mobster by extortion by penalties against the courts and those who give them power
petitioners attorney generals by alluding “....

The other two branches scheme to control the judiciary, to eliminate it to dissolve the laws that prevents this nation from dissolution by economic, physical and social control like the devil
via temptations espoused by misguided Hamilton in Federalist 78, to eliminate all freedom for business rewarding sustaining pain to sustain profit streams, and unlawful debt creation of
money backed and securitized by other people's souls, the land and resources in our schemed to be slave nation should the courts not save us from demise.

The founders taught no man may have absolute discretion or be their own judge.
See, Federalist 10 “No man is allowed to be a judge in his own cause, because his interest would certainly bias his judgment, and, not improbably, corrupt his integrity. With equal, nay
with greater reason, a body of men are unfit to be both judges and parties at the same time; yet what are many of the most important acts of legislation, but so many judicial
determinations, not indeed concerning the rights of single persons, but concerning the rights of large bodies of citizens? And what are the different classes of legislators but advocates and
parties to the causes which they determine? Is a law proposed concerning private debts? It is a question to which the creditors are parties on one side and the debtors on the other.
Justice ought to hold the balance between them.” When courts balance Constitutional authority and restraints it must uphold the express purpose this Country was founded to protect life
and liberty not to sacrifice it for the mark of the beast, lawless lusts leading to hell including avoidance of costs, material gain, convenience, comforts, positions, power and other vain
desires if not restrained or repented of.
Federalist 80 “No man ought certainly to be a judge in his own cause, or in any cause in respect to which he has the least interest or bias. This principle has no inconsiderable weight in
designating the federal courts as the proper tribunals for the determination of controversies between different States and their citizens.”)

The Founders left England to prevent tyrant reign by kings and law makers. case law should restrain Presidents for acting like the devil in Isaiah 14, by being his own God, judge and
guide unrestrained by love or the just rule of law to restrain and tame the beast sin, lawlessness that damns business greed to prevent human sacrifice and slavery.

Williams v. Pennsylvania, 579 U.S. 1, (2016) (“Due process guarantees an absence of actual bias on the part of a judge.” U.S.C.A. Const.Amend. 14.); Id at 8–9, (2016) Citing Murchison, 349 U.S., at
136–137, (“This objective risk of bias is reflected in the due process maxim that “no man can *9 be a judge in his own case and no man is permitted to try cases where he has an interest **1906 in the
outcome.” Id., at 136, 75 S.Ct. 623.); Caperton v. A.T. Massey Coal Co., 556 U.S. 868, (2009) (“In deciding whether probability of actual bias on part of judge is too high to be constitutionally tolerable,
court's inquiry is objective one, that asks not whether judge is actually, subjectively biased, but whether average judge in judge's position is likely to be neutral, or whether there is unconstitutional potential
for bias.”) Id. (“There is serious risk of actual bias, based on objective and reasonable perceptions, when person with personal stake in particular case had significant and disproportionate influence in placing
judge on case by raising funds or by directing judge's election campaign when case was pending or imminent.”)

I do not want to file an amicus brief, but if no one steps up, I seek to do what is right.

I may provide additional evidence of a schemed overthrow not merely an economic change, with no corporate structures to implement the change called beneficial entities. Upon
information and belief, the corporate entities I used ton work on called bankruptcy remote entities will facilitate the overthrow.

I pray I can persuade both sides to stop it.
Please let me know your position on an amicus brief. I understand my position conflict with past case law in DC court, but I should be permitted to indicate how to improve on errant
misguided or distinguished decisions to sustain
                                            Casethese United States from a schemed
                                                    1:25-cv-00766-JEB               overthrow.
                                                                              Document       123-1 Filed 05/11/25 Page 18 of 80
On an aside, I copy witnesses in case I should be threatened por attacked based on my viewpoint of speech in petitions or religious beliefs since I have been attacked before.

I also asked state attorney generals to file friends of court or interplead in this case, despite my religious objections and due process objections to amicus briefs in that they unfairly
substantially burden common folk or poor people from being disadvantaged due to unaffordable costs of serving and printing or researching to rebut amicus briefs.

There are exceptions to the rule, where there is a risk of eliminating an impartial forum by two bullying branches to prevent a schemed overthrow of the rule of law that protects our
freedom.

I copy them. I hope plaintiffs or attorney generals step up on this issue, but if not please tell me your stance on an amicus brief please.

Thank you. Have a good day.

Very truly,
Meg

Thank you,
Meg
Meghan Kelly
34012 Shawnee Dr
Dagsboro, DE 19939




 ----- Forwarded Message -----
 From: Meg Kelly <meghankellyesq@yahoo.com>
 To: julie.veroff@doj.ca.gov <julie.veroff@doj.ca.gov>; SUPREMECTBRIEFS@USDOJ.GOV <supremectbriefs@usdoj.gov>; jessie.alloway@alaska.gov <jessie.alloway@alaska.gov>;
 henry.whitaker@myfloridalegal.com <henry.whitaker@myfloridalegal.com>; Edmund.LaCour@AlabamaAG.gov <edmund.lacour@alabamaag.gov>; ccarr@law.ga.gov
 <ccarr@law.ga.gov>; Josh.Turner@ag.idaho.gov <josh.turner@ag.idaho.gov>; Alan.Hurst@ag.idaho.gov <alan.hurst@ag.idaho.gov>; eric.wessan@ag.iowa.gov
 <eric.wessan@ag.iowa.gov>; Anthony.Powell@ag.ks.gov <anthony.powell@ag.ks.gov>; justin.matheny@ago.ms.gov <justin.matheny@ago.ms.gov>; samuel.freedlund@ago.mo.gov
 <samuel.freedlund@ago.mo.gov>; Josh.Divine@ago.mo.gov <josh.divine@ago.mo.gov>; anthony.j.galdieri@doj.nh.gov <anthony.j.galdieri@doj.nh.gov>; eric.hamilton@nebraska.gov
 <eric.hamilton@nebraska.gov>; Peter.Torstensen@mt.gov <peter.torstensen@mt.gov>; pjaxt@nd.gov <pjaxt@nd.gov>; Garry.Gaskins@oag.ok.gov <garry.gaskins@oag.ok.gov>;
 esmith@scag.gov <esmith@scag.gov>; Spurser@agutah.gov <spurser@agutah.gov>; paul.swedlund@state.sd.us <paul.swedlund@state.sd.us>
 Cc: Meg Kelly <meghankellyesq@yahoo.com>; Costa Ryan (DOJ) <ryan.costa@delaware.gov>; usapae.usattorney@usdoj.gov <usapae.usattorney@usdoj.gov>;
 usapaw.webmaster@usdoj.gov <usapaw.webmaster@usdoj.gov>; david.weiss@usdoj.gov <david.weiss@usdoj.gov>; Attorneygeneral Info <info@attorneygeneral.gov>; Ike Adams
 <iadams@sidley.com>; Tim Mastrogiacomo <tmastro@gmail.com>; Matthew <matthewkosiorek@comcast.net>; Bradd Grossman <braddgrossman@gmail.com>;
 usapam.contact@usdoj.gov <usapam.contact@usdoj.gov>; aura.faer@doj.ca.gov <aura.faer@doj.ca.gov>; alex.hemmer@ilag.gov <alex.hemmer@ilag.gov>; Angela.Cai@njoag.gov
 <angela.cai@njoag.gov>; katherine.dirks@mass.gov <katherine.dirks@mass.gov>; Joshua.Bendor@azag.gov <joshua.bendor@azag.gov>; Shannon.Stevenson@coag.gov
 <shannon.stevenson@coag.gov>; Michael.skold@ct.gov <michael.skold@ct.gov>; ian.liston@delaware.gov <ian.liston@delaware.gov>; Andrew.mendrala@dc.gov
 <andrew.mendrala@dc.gov>; kaliko.d.fernandes@hawaii.gov <kaliko.d.fernandes@hawaii.gov>; jason.anton@maine.gov <jason.anton@maine.gov>; akirschner@oag.state.md.us
 <akirschner@oag.state.md.us>; Banghart-LinnL@michigan.gov <banghart-linnl@michigan.gov>; liz.kramer@ag.state.mn.us <liz.kramer@ag.state.mn.us>; HStern@ag.nv.gov
 <hstern@ag.nv.gov>; dmosteller@ncdoj.gov <dmosteller@ncdoj.gov>; asamant@nmdoj.gov <asamant@nmdoj.gov>; Tina.BeattyWalters@doj.oregon.gov
 <tina.beattywalters@doj.oregon.gov>; Jonathan.rose@vermont.gov <jonathan.rose@vermont.gov>; Meghan Kelly <megkellyesq@yahoo.com>; Darin McCann
 <darin.mccann@coastalpoint.com>; Cris Barrish <cbarrish@whyy.org>; Glenn Rolphe <grolfe@newszap.com>
 Sent: Tuesday, March 11, 2025 at 02:55:10 PM EDT
 Subject: Eliminating lawyers to eliminate the law for a time of lawlessness that tempts people to give into temptation or lose the necessities of life only to lose eternal life in hell/super
 bad



 Exhibit 8 B is where I show evidence to eliminate lawyers. You have to scroll down.

 https://www.supremecourt.gov/
 DocketPDF/23/23-7372/330502/20241028234829331_1%20App%20A%20Orders%20App%20B%20congress%20commandeering%20App%20B%20exhibit%208%20scheme%20to%
 20overthrow%20by%20eliminate%20rule%20of%20law%20civ%20rts.pdf

 There really is a plan to eliminate attorney generals and other petitioners to eliminate the rule of law that restrains public and private peoples from committing human sacrifice or
 slavery. I actually believe they scheme a time of lawlessness tempting humanity to give into scientific physical, social, economic pressures to be be controlled by their desires not free
 not lay down their desires without substantial burdens to do what is right, misleading them to harm themselves and one another only to lose of eternal life in hell to gain a potentially
 subpar shoddy part of the world. It makes sense to me how the temptations will damn humanity to hell without attorney generals restraining even presidents. Attorney generals are
 being attacked though. We need the courts to protect you. There are Congressional attorney service articles attacking you too. I previously forwarded one to my opponent.

 In 2016 nonlawyers were lawyering in DE. I complained to everyone and no one did anything about it. So, I ran for office and lost in 2018. I discovered plans to eliminate not only
 lawyers but judges too. In China they have peopless courts.

 You are in danger, I may email you next week for books or stuff showing you I believe your positions, pay, pensions and even bank accounts are in danger. :(

 Here's an article I drafted in the paper trying to prevent the nonlawyers from lawyering messing up the chain of title in real estate in DE. I appear to be invisible and boring, but you are
 esteemed and respected. You have the power to protect the rule of law that sustains these United States from very real dissolution. I am so discouraged, but maybe you are the heroes
 we need.
 https://www.coastalpoint.com/opinion/letter-candidate-discusses-title-companies-issues/article_9d1130dd-3671-5ee2-b11e-e3497a389cdd.html

 On an aside, in the Middle Strict of PA, a family member related by affinity was President Judge, my Uncles' Uncle, Judge Conaboy, related to the cousin who was murdered when I
 was in la school by poison. Judge Richard P. Conaboy | Middle District of Pennsylvania | United States District Court


      Judge Richard P. Conaboy | Middle District of
      Pennsylvania | United Stat...



 I might show you how a congressional attorney also cites or attacks attorney generals to be tools of submission instead of free thinking, impartial, independent, free advocates of what
 is right not biased towards whoever threatens or rewards them no longer free but slaves.

 Thank you,
 Meg


       App B exhibit 8 scheme to overthrow by eliminate rule of law civ rts.pdf
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       458.5kB
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Position Ryan Costa/Fw: Other ideas to save the baby boomers/David Weiss our hope of a hero to save the
world

From: Meg Kelly (meghankellyesq@yahoo.com)
To:     ryan.costa@delaware.gov

Cc:     david.weiss@usdoj.gov; meghankellyesq@yahoo.com; usapae.usattorney@usdoj.gov; info@attorneygeneral.gov;
        margaret.naylor@delaware.gov; matthewkosiorek@comcast.net; anthony.sodroski@pacourts.us; harriet.brumberg@pacourts.us

Date: Saturday, February 22, 2025 at 08:43 PM EST



Ryan,

David Weiss is no longer with the DOJ. State, counties and local governments are next on the chopping block for planned subpar
automation.

Your pay, pension and livelihood are all in danger, same as teachers, cops, prison guards, doctors, nurses, universities and colleges and
others. There are plans I take seriously to unravel.

I have your back even if you tan my behind. You are absolutely in danger too not just federal employees. I am copying David Weiss
because whoever is in his office will face me, and before God and man I seek to protect my opponents position and pay too. There's a plan
to automate the law, to eliminate people judges. I already showed you there are peopleless courts in China. i want to protect US Attorney
Generals too.

PA eliminated sitting US AGs too. Everyone in all states have not been appointed and confirmed yet to tempt them to be partial or risk
losing their potential positions. It's more than a month out, and no US AG has been properly confirmed since David Weiss left.

I am seriously thinking about suing Trump and Bessent to require they coin through the trillion dollar coin to fully fund the government. I
may have to wait until the Fed touches funding that affects me, but that is scheduled to happen soon.

What is your position if I write a motion to reopen in our case with leave and time to sue Trump and Bessent first. That way I can safeguard
your pay and position, and allow for time for Richard to hopefully overturn his case to potentially represent me.

You have nothing to lose. I averred repeatedly and alluded to it in Kelly v Trump my belief of the crash and schemed overthrow down the
line.

Anthony and Harriet, I absolutely believe your pension and pay will be affected, and I want to require funding what is due without stealing
from Peter to pay Paul to try to prevent you from losing everything too.

If I am taken out work together to save what makes this nation already great you, the rule of law that protects life and liberty not sacrificing
it for the mark of the beast material gain. matthew 6:24. Human slavery and sacrifice even of one is bad, naughty and never good.

I copy and paste from my affidavit filed last ryan.

54. Someone must sue to compel the President and Treasury to coin correctly freely
not out of slavery debt to entice law makers and Presidents to incite debt by war, job corps,
sicknesses or other pain to keep the debt creation money rolling to enrich pockets of their
partners unjustly, while patting their own backs for enslaving the people by the pretty words job
creation. There should be no privatization of the government or partnerships.
55. There is a way to create money without stealing from Peter to pay Paul as
President Lincoln successfully did previously and President Kennedy tried to do. President
Lincoln created debt free, interest free money by signing the Act of Feb.25, 1862, ch. 33 § 1, 12
stat. 345.28. President Kennedy signed FR 5605, Exec. Order No. 11110, which also created
money without debt or interest, albeit after he was murdered it was withdrawn. president Lincoln
was able to pay soldiers who fought in the civil war money without enslaving the people to debt
to create it unjustly through compelled involuntary servitude.
56. The United States Supreme Court indicated President Lincoln’s paper money was
constitutional, overturning a prior case. In Knox v Lee, 79 U.S. 457 (1871), the U.S. Supreme
Court held that the Legal Tender Act, which authorized the printing of paper money, President
Lincoln’s Greenbacks, not redeemable in gold or silver, nor creating debt or incurring interest,
did not violate the U.S. Constitution. In so ruling, the Court reversed its earlier decision in
Hepburn v. Griswold, 8 Wall. 603, 623, 19 L.Ed. 513. There is a way out to reverse or prevent a
planned economic crash, which is designed to eliminate people staff to automation.
57. A court must compel the President and the Treasury to Defendants to coin money
without debt and interest under 31 U.S.C. § 5112 (k) to pay off the national debt in full and to
pay for federal employees and the operations of the federal government for all sums exceeding
the budget given the exigent circumstances.
58. 31 U.S.C. § 5112 (k) allows the Secretary of the Treasury to coin money through
the platinum bullion without debt and interest by her discretion, not the Federal Reserve.
59. The Courts should find it an abuse of discretion not to fund the judiciary while
funding the President’s pay and congressional pay. The Courts should find it an abuse of
discretion to be enslaved to any debt to be controlled not free to whomever the government
owes.
60. Even if the courts do not yet separate the government from science and private
partnerships yet, so it may restrain private people from enslaving and sacrificing others under the
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lie of public good, the courts may consider requiring the President and Treasurer fully fund its
branch and itself to prevent a schemed overthrow with colluders within the government who
attack the government.
61. Sin hurts my heart. Other people’s sins too. It makes me care to do something
about it in hopes the sinner does not harm others, die to be doomed to hell.
62. The US Supreme court in Knox indicated it is permissible to create money out of
nothing to fully pay off debts. It is freedom not debt created money that is the treasure.
63. 31 U.S.C. § 5112 (k) provides: “(k) The Secretary may mint and issue platinum
bullion coins and proof platinum coins in accordance with such specifications, designs, varieties,
quantities, denominations, and inscriptions as the Secretary, in the Secretary's discretion, may
prescribe from time to time.”

Ryan you know I believe is sin and that God damns to hell those who create money out of debt secured partially based on other people's
deposits, from 10 percent reserves to zero, plus interest. See Ezekiel 18:13 to confirm the bible teaches people go to hell for lending out at
a profit instead of mere return of collateral without repentance. (Hence the planned borrowing subscription economy violates my religious
beliefs on steroids where no one owns anything and pretends to be happy so they are not taken out of their misery and killed, citing WEF
2016 article with my own side notes cutting through the fluff) Money creation by enslaving people to debt that cannot be paid back by
design even if gold backed it in part like it did around 2000 BC in Babylon. They could not nor can we pull gold out of thin air to allow for the
payment in interest in full. People say it is hard to understand because it is made not to logically work out to sustain the debt to sustain
slavery control on a people who are products not free. Let us clean our hands and coin correctly to care for not control others.

Thank you,
Meg
 ----- Forwarded Message -----
 From: Meg Kelly <meghankellyesq@yahoo.com>
 To: david.weiss@usdoj.gov <david.weiss@usdoj.gov>
 Cc: Meg Kelly <meghankellyesq@yahoo.com>
 Sent: Friday, August 20, 2021 at 04:41:23 PM EDT
 Subject: Other ideas to save the baby boomers/David Weiss our hope of a hero to save the world

 Dear Honorable US Attorney General David Weiss,

 I hope you choose to balance the branches in court with kind correction and guidance to preserve our government.

 You have many different options to save the world with your position as United States Attorney General.

 You know that everyone's pensions and retirement are tied to debt, resold in the form of stocks, empty bubbles that appear more
 valuable by stock buy backs and manipulative reselling in bulk transactions.

 There is an intentional preventable stock market crash that will disarm our government of the power of the purse strings before taking
 over government power to the misbehaving private partners of government.

 We are in danger and respectfully request your help to save the world .

 Criminal theories should you seek to reverse a crash that already occurred. Possibly allege a Ponzi scheme. The banks and stock
 market resell debt they do not have capital to pay for. Deflations enrich the common man by making his money and savings buy more,
 while harming banks who make money off of the misery of others in desperate need forcing them to become slaves to debt and interest.
 The federal reserve is run by the banks, with federal backing to save the banks not the customers. It is lawless, with no government
 oversight. The Great Depression and the 2008 recession were manufactured by the banks for the benefits of the banks. Can you brain
 storm a ponzi theory with the banks and stock market, not to pursue revenge but a change and correction, to care for the people?

 Please take the power of the government to coin for the profit of private industry back to the government to care for the people, not
 exploit them for private industries and entities too.

 Can you think of a second criminal theory.

 In Delaware wolves, CEOs, Members, officials insulated from entities are taking bonuses and high salaries and hiding it in off shore
 accounts, essentially robbing our elderly of pensions before a crash occurs. You could use criminal theories related to fiduciary roles to
 possibly take back the money. You see how the super rich are getting richer even though, true value is diminishing since businesses
 have been closed, employees laid off. It doesn't make sense.

 Attached please find Lincoln and Kennedy's executive orders to care for the people with the coining power, not feed the people's fat,
 their labor to wolves, by enslaving them to debt and interest, a tax by the banks.

 I have other ideas, but I am drained. I am concerned that I may die during this pandemic. So, I have a fire in my belly to ask you for
 help, in case it may be too late to ask. Forgive me if I have typos or do not make sense. I think that you are the hope of the world.

 Attached, please find a pdf version I found online of the Fourth industrial revolution, the 2017 update is longer. In addition, to a book that
 explains banking issues. You can key search it to show banks create money out of nothingness, and get not only that money back in
 their pockets, but the interest too. The government should coin to care for the people, without interest, and to fully fund the government.

 I hope you have a nice weekend.

 Thank you for considering being our hero, and the hero of the world. I hope you stay healthy and alive. We need you.

 Very truly,
 Meg
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6.8MB

The_Fourth_Industrial_Revolution_pdf.pdf
1.6MB
Lincoln's act westlaw.pdf
210.7kB

President Kennedy's debt free interest free money.pdf
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Fw: Other ideas to save the baby boomers/David Weiss our hope of a hero to save the world

From: Meg Kelly (meghankellyesq@yahoo.com)

To:    michael.casper@doj.oregon.gov; rebekah.newman@ilag.gov; joshua.bendor@azag.gov; lane.polozola@atg.wa.gov
Cc:    meghankellyesq@yahoo.com

Date: Thursday, March 13, 2025 at 05:27 PM EDT



fyi
I know that you have a very important case, and I am rooting for you to uphold and protect the Constitution and birth right citizenship.

Place these concerns on the back burner.

You are our hope of a hero.

Thank you,
Meg

 ----- Forwarded Message -----
 From: Meg Kelly <meghankellyesq@yahoo.com>
 To: julie.veroff@doj.ca.gov <julie.veroff@doj.ca.gov>; SUPREMECTBRIEFS@USDOJ.GOV <supremectbriefs@usdoj.gov>; jessie.alloway@alaska.gov
 <jessie.alloway@alaska.gov>; henry.whitaker@myfloridalegal.com <henry.whitaker@myfloridalegal.com>; Edmund.LaCour@AlabamaAG.gov
 <edmund.lacour@alabamaag.gov>; ccarr@law.ga.gov <ccarr@law.ga.gov>; Josh.Turner@ag.idaho.gov <josh.turner@ag.idaho.gov>; Alan.Hurst@ag.idaho.gov
 <alan.hurst@ag.idaho.gov>; eric.wessan@ag.iowa.gov <eric.wessan@ag.iowa.gov>; Anthony.Powell@ag.ks.gov <anthony.powell@ag.ks.gov>;
 justin.matheny@ago.ms.gov <justin.matheny@ago.ms.gov>; samuel.freedlund@ago.mo.gov <samuel.freedlund@ago.mo.gov>; Josh.Divine@ago.mo.gov
 <josh.divine@ago.mo.gov>; anthony.j.galdieri@doj.nh.gov <anthony.j.galdieri@doj.nh.gov>; eric.hamilton@nebraska.gov <eric.hamilton@nebraska.gov>;
 Peter.Torstensen@mt.gov <peter.torstensen@mt.gov>; pjaxt@nd.gov <pjaxt@nd.gov>; Garry.Gaskins@oag.ok.gov <garry.gaskins@oag.ok.gov>; esmith@scag.gov
 <esmith@scag.gov>; Spurser@agutah.gov <spurser@agutah.gov>; paul.swedlund@state.sd.us <paul.swedlund@state.sd.us>
 Cc: Meg Kelly <meghankellyesq@yahoo.com>; Costa Ryan (DOJ) <ryan.costa@delaware.gov>
 Sent: Tuesday, March 11, 2025 at 12:26:32 PM EDT
 Subject: Fw: Other ideas to save the baby boomers/David Weiss our hope of a hero to save the world

 Thank you for your consideration.

 If you have any ideas how I can protect your positions, please let me or my opponent Ryan know.

 I think you getting booby trapped to believing money is the solution when the new economy carbon/credit debit enslaves you far worse. Both Biden/Trump/Trump's kid
 are in the know and have attended colluding planning at the WEF. We are in DE the source of all corporate corruption in the universe and patents to control not care for
 the world. That gives us the capacity to potentially prevent the overthrow should the Prince of Patent law at the Federal court or the King of Corporate law the
 Chancery Court serve humanity not sacrifice it to gain the world by sustaining environmental pain to create money out of environmental debt under the lie more money
 will fix it, when it rewards and sustains more harm for more cha ching debt created money by carbon credit creation.

 There are other books that allude to eliminating you, but there is time. Banks are scheduled to default on March 14. March 15 is when the budget default will allegedly
 occur.

 The republican plan will eliminate state and local cops for a military state for homeland security. Funding to the states will be eliminated by the budget by design even if
 it passes. The scheme is to defund the government, to privately control the resources to control the government to make it not free but sold, to eliminate the
 government. See Club of Rome book 2054.

 Trump through treasurer bessent has the power to fully coin out of nothing because Congress delegated it to them by the trillion dollar coin. Anything he says may be
 deception. All this pain is preventable and reversible. Do not trust him or the other side. Both sides have dirty hands. You are attorney generals and can clean them
 and save them from themselves not destroy them. That is special. You are worthy of protection. The rule of law in 1791 not 1776 is what founded, sustains and
 maintains these United States, not money and might. Without the petition, there is no rule of law in a civilized forum.

 You are in danger. :(
 With concern and love,
 Meg

 Thank you,
 Meg
 ----- Forwarded Message -----
 From: Meg Kelly <meghankellyesq@yahoo.com>
 To: david.weiss@usdoj.gov <david.weiss@usdoj.gov>
 Cc: Meg Kelly <meghankellyesq@yahoo.com>
 Sent: Friday, August 20, 2021 at 04:41:23 PM EDT
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 We are in danger and respectfully request your help to save the world .

 Criminal theories should you seek to reverse a crash that already occurred. Possibly allege a Ponzi scheme. The banks and stock market resell debt they do not have
 capital to pay for. Deflations enrich the common man by making his money and savings buy more, while harming banks who make money off of the misery of others in
 desperate need forcing them to become slaves to debt and interest. The federal reserve is run by the banks, with federal backing to save the banks not the customers.
 It is lawless, with no government oversight. The Great Depression and the 2008 recession were manufactured by the banks for the benefits of the banks. Can you
 brain storm a ponzi theory with the banks and stock market, not to pursue revenge but a change and correction, to care for the people?

 Please take the power of the government to coin for the profit of private industry back to the government to care for the people, not exploit them for private industries
 and entities too.

 Can you think of a second criminal theory.
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In Delaware wolves, CEOs, Members, officials insulated from entities are taking bonuses and high salaries and hiding it in off shore accounts, essentially robbing our
elderly of pensions before a crash occurs. You could use criminal theories related to fiduciary roles to possibly take back the money. You see how the super rich are
getting richer even though, true value is diminishing since businesses have been closed, employees laid off. It doesn't make sense.

Attached please find Lincoln and Kennedy's executive orders to care for the people with the coining power, not feed the people's fat, their labor to wolves, by enslaving
them to debt and interest, a tax by the banks.

I have other ideas, but I am drained. I am concerned that I may die during this pandemic. So, I have a fire in my belly to ask you for help, in case it may be too late to
ask. Forgive me if I have typos or do not make sense. I think that you are the hope of the world.

Attached, please find a pdf version I found online of the Fourth industrial revolution, the 2017 update is longer. In addition, to a book that explains banking issues. You
can key search it to show banks create money out of nothingness, and get not only that money back in their pockets, but the interest too. The government should coin
to care for the people, without interest, and to fully fund the government.

I hope you have a nice weekend.

Thank you for considering being our hero, and the hero of the world. I hope you stay healthy and alive. We need you.

Very truly,
Meg


      The Creature From Jekyll Island.pdf
      6.8MB

      The_Fourth_Industrial_Revolution_pdf.pdf
      1.6MB

      Lincoln's act westlaw.pdf
      210.7kB

      President Kennedy's debt free interest free money.pdf
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From: Meg Kelly (meghankellyesq@yahoo.com)

To:    julie.veroff@doj.ca.gov; supremectbriefs@usdoj.gov; jessie.alloway@alaska.gov; henry.whitaker@myfloridalegal.com; edmund.lacour@alabamaag.gov; ccarr@law.ga.gov;
       josh.turner@ag.idaho.gov; alan.hurst@ag.idaho.gov; eric.wessan@ag.iowa.gov; anthony.powell@ag.ks.gov; justin.matheny@ago.ms.gov; samuel.freedlund@ago.mo.gov;
       josh.divine@ago.mo.gov; anthony.j.galdieri@doj.nh.gov; eric.hamilton@nebraska.gov; peter.torstensen@mt.gov; pjaxt@nd.gov; garry.gaskins@oag.ok.gov; esmith@scag.gov;
       spurser@agutah.gov; paul.swedlund@state.sd.us; ryan.costa@delaware.gov; meghankellyesq@yahoo.com

Date: Tuesday, March 11, 2025 at 12:03 PM EDT



fyi

  ----- Forwarded Message -----
  From: Meg Kelly <meghankellyesq@yahoo.com>
  To: Kendra.Johnson@state.de.us <kendra.johnson@state.de.us>; debra.heffernan@state.de.us <debra.heffernan@state.de.us>; Ray.Seigfried@state.de.us
  <ray.seigfried@state.de.us>; Quinton.Johnson@state.de.us <quinton.johnson@state.de.us>; Kevin.Hensley@state.de.us <kevin.hensley@state.de.us>; Sean.Matthews@state.de.us
  <sean.matthews@state.de.us>; jeff.spiegelman@state.de.us <jeff.spiegelman@state.de.us>; Krista.Griffith@state.de.us <krista.griffith@state.de.us>; John.L.Mitchell@state.de.us
  <john.l.mitchell@state.de.us>; Peter.Schwartzkopf@state.de.us <peter.schwartzkopf@state.de.us>; Valerie.Longhurst@state.de.us <valerie.longhurst@state.de.us>;
  FranklinD.Cooke@state.de.us <franklind.cooke@state.de.us>; Nnamdi.Chukwuocha@state.de.us <nnamdi.chukwuocha@state.de.us>; Melissa.MinorBrown@state.de.us
  <melissa.minorbrown@state.de.us>; David.Bentz@state.de.us <david.bentz@state.de.us>; kimberly.williams@state.de.us <kimberly.williams@state.de.us>;
  Michael.Ramone@state.de.us <michael.ramone@state.de.us>; Michael.F.Smith@state.de.us <michael.f.smith@state.de.us>; Paul.Baumbach@state.de.us
  <paul.baumbach@state.de.us>; Edward.Osienski@state.de.us <edward.osienski@state.de.us>; John.Kowalko@state.de.us <john.kowalko@state.de.us>; John.Viola@state.de.us
  <john.viola@state.de.us>; Earl.Jaques@state.de.us <earl.jaques@state.de.us>; William.Carson@state.de.us <william.carson@state.de.us>; William.Bush@state.de.us
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  <andria.bennett@state.de.us>; charles.postles@state.de.us <charles.postles@state.de.us>; Lyndon.Yearick@state.de.us <lyndon.yearick@state.de.us>;
  Jesse.Vanderwende@state.de.us <jesse.vanderwende@state.de.us>; Bryan.Shupe@state.de.us <bryan.shupe@state.de.us>; Ruth.BriggsKing@state.de.us
  <ruth.briggsking@state.de.us>; Ronald.Gray@state.de.us <ronald.gray@state.de.us>; Daniel.Short@state.de.us <daniel.short@state.de.us>; Timothy.Dukes@state.de.us
  <timothy.dukes@state.de.us>; R.Collins@state.de.us <r.collins@state.de.us>; jessica.borky@delaware.goc <jessica.borky@delaware.goc>; emily.david@delaware.gov
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  <brian.garcia2@mail.house.gov>
  Cc: Veronica Escober <jaqueline.sanchez@mail.house.gov>; Mckayla Braden <mckayla.braden@gmail.com>; Rep Martha Roby <luke.mcknight@mail.house.gov>; Lucy Mcbeth
  <matthew.golden@mail.house.gov>; Joe Neguse <emma.salas@mail.house.gov>; Jane Hovington <jehovahrohi@aol.com>; zoe.orrick@mail.house.gov
  <zoe.orrick@mail.house.gov>; Hakeem Jeffries <zoe.orick@mail.house.gov>; wchandler@wsgr.com <wchandler@wsgr.com>; Henry C Hank Johnson
  <tyrone.hankerson@mail.house.gov>; Pramila Jayapal Washington <sophie.bodlovich@mail.house.gov>; W Greg Steube <reginald.darby@mail.house.gov>; Shelia Jackson Lee
  <michael.pender@mail.house.gov>; mbraden@bakerlaw.com <mbraden@bakerlaw.com>; Andy Biggs <kate.laborde@mail.house.gov>; Debbie Lesko
  <john.zwaanstra@mail.house.gov>; Mike Johnson <hayden.hayes@mail.house.gov>; Matt Gaetz <dawn.mcarble@mail.house.gov>; David N Ciciline
  <carrick.heilferty@mail.house.gov>; Louie Gohmert <caralee.conklin@mail.house.gov>; John Ratcliffe <caleb.culver@mail.house.gov>; Ken Buck <brittany.yanick@mail.house.gov>;
  Val Butler Demings <brittan.robinson@mail.house.gov>; Zoe Lofren Representative California <arlet.adrahamian@mail.house.gov>; Madeline Dean
  <anneliese.israel@mail.house.gov>; andrea.anaya@mail.house.gov <andrea.anaya@mail.house.gov>; J luis correa Representative <alysa.buckler@mail.house.gov>
  Sent: Tuesday, February 25, 2025 at 07:45:08 PM EST
  Subject: Re: Position Ryan Costa/Fw: Other ideas to save the baby boomers/David Weiss our hope of a hero to save the world

  Good evening,

  Your government pensions and pay are not protected either. Your bank accounts are not protected in full at least or at all if FDIC is eliminated.See, the dicta in Weinberger v. Salfi, 422
  U.S. 749, 772 (1975)”); “Like Social Security, and unlike most private pension plans, railroad retirement benefits are not contractual. Congress may alter, and even eliminate, them at
  any time.” This should change to protect those who accept social security, government pay as government employees and government pensions. Also see, Frisbie v. United States,
  157 U.S. 160, 166 (1895) (“The pension granted by the government is a matter of bounty. “No pensioner has a vested legal right to his pension. Pensions are the bounties of the
  government, which Congress has the right to give, withhold, distribute, or recall, at its discretion. Walton v. Cotton, 19 How. 355.” United States v. Teller, 107 U.S. 64, 68.Congress
  being at liberty to give or withhold a pension, may prescribe who shall receive it, and determine all the circumstances and conditions under which any application therefor shall be
  prosecuted. No man has a legal right to a pension, and no man has a legal right to interfere in the matter of obtaining pensions for himself or others. The whole control of that matter is
  within the domain of Congressional power. United States v. Hall, 98 U.S. 343.”) Federal pay and federal pensions of contracted employees should be protected under the Contracts
  Clause to prevent impending harm. Without federal employees, there is no federal government.

  There is an overthrow schemed. It is not a mere economic system change.

  I believe your position is in trouble. My religious objections to money creation by borrowing it into existence to enslave the government officials to be enslaved to sin and death in hell by
  making mammon God, material gain by sacrificing and enslaving those they purport to serve but exploit may offer me unique standing to temporally compel the president and Bessent
  to coin lawfully without enslaving itself and its people to those it owes. The government may coin without borrowing to fully fund your pensions, pay, social security should a default
  occur.

  16.    The US Supreme Court once announced, “It is wise to remember that the taxing and licensing power is a dangerous and potent weapon which, in the hands of unscrupulous or
  bigoted men, could be used to suppress freedoms and destroy religion unless it is kept within appropriate bounds. ” Follett v. McCormick, 321 U.S. 573, 579 (1944)(emphasis intended).

         17.      The licensing power should not be used to eliminate my religious beliefs, even if the majority and the state believes differently than I do.

         18.      I have religious beliefs against the improper way money is coined and distributed which may grant me standing in another case to reverse or prevent an economic crash.

          19.    I have religious beliefs against debt. Money is coined out of debt by banks through fractional reserve or as of 2020 no reserves. Money is also coined through the
  federal reserve because Congress wrongly gave its coning power away to banks who gain more profit the worse off and more debt we are in. There is a conflict of interest.

         20.      The government should not have any debt. The government should not require taxes either. If the Federal government coined without enslaving the people to pay it
  back with interest to the banks, the government would protect freedom. US Amend XIII.

        21.    Under Article I, Section 8, Clause 5: “[The Congress shall have Power . . . ] To coin Money, regulate the Value thereof, and of foreign Coin, and fix the Standard of
  Weights and Measure.”

          22.     Congress wrongly gave away its coining power to the banks. The banks create money out of debt violating the 13th amendment by compelled servitude to pay the debt
  plus interest. This makes money master to pay for freedom from bondage to debt misleading people to hell. The Federal Reserve has made money a commodity to buy and sell
  instead of a tool to serve the people as a means of exchange. Congress should determine the value of money, not banks who manipulate interest for self gain.

          23.    Congress should take its coining power back, and should not borrow in violation of the 13th Amendment despite the fact Article I, Section 8, Clause 1: permits congress
  to create taxes “to pay the Debts and provide for the common Defense and general Welfare of the United States.”

         24.     If Congress coined money without enslaving the people and the government to debt, it would not require taxes to pay off debt. There would be no debt. The
  Government could coin money correctly to serve as opposed to enslave the people while protecting their liberty to buy and sell as they choose with the limit of just laws to prevent
  oppression, slavery, killing, stealing and destroying of others to serve the bottom line. The government would coin based on need, not exploitation to serve business greed.

          25.     Money should be the government’s servant by coining without debt and interest to care for not control a free people. Presidents Lincoln and President attempted to coin
  correctly.

         26.      While President Jackson still used small state banks, he was correct about national banks. The Government should not be enslaved to any debt, nor should it enslave its
people to pay debt. In my complaint I proposed the government pay off all its debt by coining without interest and debt to prevent the elimination of fiat currency and the transition to
Central Bank Digital Currency which will beCase
                                             implemented  on a larger scale JulyDocument
                                                   1:25-cv-00766-JEB             2023. The government
                                                                                            123-1 Filed has the  ability to payPage
                                                                                                              05/11/25         off its debt
                                                                                                                                       25 ofwhile
                                                                                                                                              80 requiring banks to lend out what they have
instead of creating money out of the fractional reserve ponzi scheme.

        27.    The Central banks are not loyal to the governments. 91 or more Central banks have entered an agreement Network for Greening the Financial System (“NGFS”) under
a carbon debt plan that allows the banks not the governments to enslave governments, entities and people based on involuntary compelled debt. [1] The Central banks appear to be
acting in concert to enslave governments to debt and credits, ruling over them by controlling money, making money guide and God of governments. The governments should be
concerned with caring for the people while protecting the people’s liberties.[2] Instead, governments will be tempted to sacrifice liberties and the lives of the people under the lie of
sustaining the world.
banks should not have the power to borrow money into existence enslaving governments and people.
the banks function is dumb to create currency instead of the government to be controlled by those who make more profit on interest the worse off the government and people are. In
turn the government is tempted to be enslaved to sin and death in hell by sustaining problems to sustain the slavery job creation to sell alleged solutions made to cause more problems
to require more debt created money to fund marketing aka science to sell more bad products and services into infinity. It is damnable sin.

US Supreme Court held. "We said in Tiffany v. National Bank of Missouri, 18 Wall. 409, that national banks "were established for the purpose, in part, of providing a currency for the
whole country, and in part to create a market for the loans of the general government. It could not have been intended, therefore, to expose them to the hazard of unfriendly legislation
by the States, or to ruinous competition with state banks."

The language of the Revised Statutes is that national banks "may take, receive, reserve and charge on any loan . . . upon any note . . . interest allowed by the laws of the State,
Territory or district" where located, "and no more, except that where by the laws of any State a different rate is limited for banks of issue organized under state laws, the rate so limited
shall be allowed for associations organized or existing in any such State under this title."

Daggs v. Phoenix National Bank, 177 U.S. 549, 555 (1900)

This purpose is folly. The government must coin to care not enslave and control the people.

None of the US Attorney Generals have been appointed and confirmed yet. So they are sitting attorney generals meaning they are beholden to Trump until they get confirmed.

Case law may have a split in the circuits as to whether you can fire appointed peoples. So even if they get confirmed as US AGs in districts of DE and PA and so forth, even if they are
loyal to Trump, Trump may change his mind about what is loyalty should they contest any potentially unconstitutional conduct. This would be partial implementation of justice in violation
of equal protections where those who agree with Trump are above the constitution or criminal laws in cases enforced by US AGs unfairly.

Third circuit is unfavorable to protecting freedom but serves the mark of the beast business greed unrestrained from sacrifice and slavery and tyrannical loyalty to elected officials. this
is evil not good.
I do not have easy access to case law to discern if the split was resolved yet.

This was from 2023 notes: "Thus, the Pickering balancing test would apply to such a retaliatory action. We realize that this decision places us squarely in conflict with several other
circuits, a posture we do not adopt lightly. We also agree with the Seventh and Third Circuits that this is an area in which Supreme Court guidance is particularly needed."
Umbehr v. McClure, 44 F.3d 876, 883 (10th Cir. 1995)

A number of other courts have held that governments may award or terminate public contracts on the basis of political affiliation or support. See Triad Assocs., Inc. v. Chicago Hous.
Auth., 892 F.2d 583 (7th Cir. 1989) (holding that independent contractor claiming loss of and denial of contracts because of political affiliation was not protected by First Amendment),
cert. denied, 498 U.S. 845, 111 S.Ct. 129, 112 L.Ed.2d 97 (1990); LaFalce v. Houston, 712 F.2d 292 (7th Cir. 1983) (holding that independent contractor claiming denial of public
contract because of political affiliation was not protected by First Amendment), cert. denied, 464 U.S. 1044, 104 S.Ct. 712, 79 L.Ed.2d 175 (1984); Horn v. Kean, 796 F.2d 668 (3d Cir.
1986) (en banc) (holding that independent contractors whose contracts were terminated following a change in administration were not protected by the First Amendment); Sweeney v.
Bond, 669 F.2d 542, 545 (8th Cir.) (holding that fee agents who were not employees but were "`more in the nature of independent contractors'" who were dismissed following a change
in administration were not protected by the First Amendment), cert. denied, 459 U.S. 878, 103 S.Ct. 174, 74 L.Ed.2d 143 (1982); Ambrose v. Knotts, 865 F. Supp. 342, 345 (S.D.W.Va.
Oct. 17, 1994) (holding that independent contractor claiming termination of contract in retaliation for petition was not protected by First Amendment); O'Hare Truck Serv., Inc. v. City of
Northlake, 843 F. Supp. 1231, 1234 (N.D.Ill. 1994) (holding that independent contractor claiming removal from city towing rotation list because of political affiliation was not protected by
First Amendment); Inner City Leasing and Trucking Co. v. City of Gary, 759 F. Supp. 461, 464 (N.D.Ind. 1990) (holding that independent contractor claiming termination of contract
because of political affiliation not protected by First Amendment); MEDCARE HMO v. Bradley, 788 F. Supp. 1460, 1464-66 (N.D.Ill. 1992) (holding that independent contractor claiming
termination of contract because of lobbying and other political activities not protected by First Amendment); see also Lundblad v. Celeste, 874 F.2d 1097, 1102 (6th Cir.), vacated, 882
F.2d 207 (6th Cir. 1989), reinstated in pertinent part, 924 F.2d 627 (6th Cir. 1991) (en banc) (holding that it was not clearly established that independent contractor claiming denial of
public contract because of political affiliation was protected under First Amendment), cert. denied, 501 U.S. 1250, 111 S.Ct. 2889, 115 L.Ed.2d 1054 (1991). But see Horn, 796 F.2d at
680-85 (Gibbons, Sloviter, Mansmannt, Stapleton, JJ., dissenting) (rejecting view that independent contractors can be treated differently than employees for First Amendment
purposes).
Our own circuit has suggested, without analysis, that independent contractors do enjoy protection against retaliation for the exercise of First Amendment rights. Abercrombie, 896 F.2d
at 1233. In Abercrombie, the Plaintiff was the owner of a wrecker business who received referrals from the City of Catoosa police chief. The Plaintiff had received all wrecker referrals
from the police for a period of time, but after testifying in court as a witness in a suit against the city, he no longer received all wrecker referrals; instead he shared them with another
wrecker company. After campaigning on behalf of a mayoral candidate running against the incumbent mayor, the Plaintiff was removed entirely from the police department's wrecker
rotation log. He brought a section 1983 action against the city, the police chief, and the mayor, claiming, inter alia, that he had been deprived of a property interest without due process
and that Defendants had retaliated against him for the exercise of his First Amendment rights.
Umbehr v. McClure, 44 F.3d 876, 879-80 (10th Cir. 1995)

Lundblad v. Celeste, 924 F.2d 627, 628 (6th Cir. 1991);(“ We conclude that no legal principles developed under the Equal Protection Clause "clearly establish" that state officials may
not award public contracts on the basis of partisan politics or party affiliation. In Rutan v. Republican Party of Illinois, ___ U.S. ___, 110 S.Ct. 2729, 111 L.Ed.2d 52 (1990), Branti v.
Finkel, 445 U.S. 507, 100 S.Ct. 1287, 63 L.Ed.2d 574 (1980), and Elrod v. Burns, 427 U.S. 347, 96 S.Ct. 2673, 49 L.Ed.2d 547 (1976), the Supreme Court has developed principles
under the First Amendment prohibiting the hiring and firing of employees on a partisan political basis, but the Court has not developed such principles under the Equal Protection
Clause, nor has it extended these First Amendment principles to the area of public contracts. “); Labalokie v. Capitol Area Interm. Unit, 926 F. Supp. 503, 507 (M.D. Pa. 1996) (“Clearly,
partisan politics lies at the very core of our democratic process, and just as clear is the notion that permitting those who hold public office to employ independent contractors based on
political party affiliation provides an effective method to implement the administrations’ program. Policy implementation is just as important as policymaking”); ” Downtown Auto Parks,
Inc. v. City of Milwaukee, 938 F.2d 705, 708 (7th Cir. 1991);POTENTIAL SPLIT But see, McBee v. Jim Hogg County, 730 F.2d 1009, 1026-18 (5th Cir. 1984) (“The spoils system, which
views public employment as pure political patronage, inhibits the free functioning of the electoral process. ‘Conditioning public employment on partisan support prevents support of
competing political interest.’ By holding a public employee's job hostage to his political activities or affiliation, the rebirth of the spoils system sanctioned by the majority allows an
incumbent or a victorious challenger to accomplish indirectly what neither could legally do by mandate: the coercion of political support from the public employee.”); Elrod v. Burns, 427
U.S. 347, 357 (1976) (“Patronage, therefore, to the extent it compels or restrains belief and association, is inimical to the process which undergirds our system of government and is "at
war with the deeper traditions of democracy embodied in the First Amendment." Illinois State Employees Union v. Lewis, 473 F.2d, at 576. ”); SPLITS CONTINUED But see, Umbehr v.
McClure, 44 F.3d 876, 879-80 (10th Cir. 1995) (This Court outlined cases in other of other jurisdictions where independent contractors may be eliminated based on the exercise of First
Amendment liberties including speech criticizing politicians or political groups, and came to the opposite conclusion by protecting independent contractors for political criticism.). It
appears there is a split. The Court in Umbehr v. McClure, 44 F.3d 876, 879-80 (10th Cir. 1995) noted, ( A“number of courts have held that governments may award or terminate public
contracts on the basis of political affiliation or support. See Triad Assocs., Inc. v. Chicago Hous. Auth.,892 F.2d 583 (7th Cir. 1989) (holding that independent contractor claiming loss of
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F.2d 292 (7th Cir. 1983) (holding that independent contractor claiming denial of public contract because of political affiliation was not protected by First Amendment), cert. denied, 464
U.S. 1044, 104 S.Ct. 712, 79 L.Ed.2d 175 (1984); Horn v. Kean,796 F.2d 668 (3d Cir. 1986) (en banc) (holding that independent contractors whose contracts were terminated following
a change in administration were not protected by the First Amendment)(emphasis to show our Circuit rules the wrong way in favor of corruption and the partial application of the rule of
law by government money and partial backing); Sweeney v. Bond,669 F.2d 542, 545 (8th Cir.) (holding that fee agents who were not employees but were "`more in the nature of
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680-85 (Gibbons, Sloviter, Mansmannt, Stapleton, JJ., dissenting) (rejecting view that independent contractors can be treated differently than employees for First Amendment
purposes).

On a side note I believe people go to hell for teaching the lies creating unjust lawlessness that eliminates freedom: 1 that business is freedom or that 2 contract is freedom. No it is
bondage to evil people who unjustly use wealth, connections, power or position to force their will be done like the lawless one the devil in Isaiah 14 if unrestrained by just laws to
prevent human sacrifice and slavery NOT REWARD profiting by causing it. That is the mark of beast, aka sin, aka lawlessness and my God teaches enslaved to sin and death in hell
are those blinded by the desire to care for their own they sustain pain, harm or enslave others to increase earned or other profit streams. Not knowing and delegation of duties is
damnable guilt not innocence.I don't want people to harm others, thinking they help others, only to die to be damned to hell for getting it wrong. I believe court correction prevents
condemnation. I believe when we repent by turning away from being the evil in our thinking and doing we are saved from sin and death in hell.
Lobbysists are talking about eliminating theCase
                                            government  to eliminate the rule ofDocument
                                                 1:25-cv-00766-JEB               law to just unjustly
                                                                                              123-1enslave   humanity
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                                                                                                               05/11/25       Page system where
                                                                                                                                      26 of  80 people must comply or die of want
unrestrained by any law, just business greed which I averred is the mark of the beast if unrestrained from just decrees to protect individual lives and free will.

Good night. I am writing imperfectly because you are on the chopping block down the line. Let's take away the hatchet and coin correctly.

thank you
meg


On Sunday, February 23, 2025 at 05:33:32 PM EST, Meg Kelly <meghankellyesq@yahoo.com> wrote:


Good evening,

I believe that state, county and local government pay, pensions and positions will be vitiated next.

I have a plan to fully fund the government.

I am not acting as an attorney but acting pro se to assert the right to petition in accord with due process.

I think injustice occurs for two reasons 1. the government colludes with private partners instead of governing and guiding. The governments hands cannot clean its partners hands
when its own hands are dirty, and 2. Money is created out of debt, securitized by fractional reserves risking depositors property, not the bankers, plus charging interest on debt that
cannot be paid back by design. Since all money is borrowed into existence since about 4,000 years ago per the first recorded bank in Babylon.

Instead of creating a government as a market and coining to enslave and control, we could actual protect life and liberty with the limit no one is free to enslave and sacrifice another
under the lie of the public good, collective good, welfare or so on. Human slavery or sacrifice of even one is always naughty, bad not good.

Just like the federal government is letting go of agencies and funding I believe this will happen to you soon.

Please hold off on thinking about increasing taxes. Do not amend the laws to allow more immediate increases in school funding. That would actually lose funding by pushing people out
of their owns through foreclosures as unaffordable, making fewer tax payers in bulk, since bank owned and REOs likely pay no school taxes.

There is a plan to eliminate brick and mortar schools for dumbed down slavery of life long learners to use people as products. It eliminates freedom by economic pressures.

Please hold off on the temptation to increase taxes please. We would not need any taxes period if we coined correctly.

On an aside, none of the US Attorney Gnerals in state offices have been nominated or confirmed. In DE just like PA they eliminated US AGs like David Weiss quietly. They sitting US
AGs who are tempted to be partial towards trump in order to gain their position through nomination and confirmation of the senate. Trump may not even do that. He is sitting on it. It is
not likely any of them would restrain Trump when their positions have not been secured yet.

States may face Contract clause case whereas the contract clause does not apply to the Federal governments, albeit due process or equal protections are considerations at the federal
level.

I believe the debt provisions and contract clause provisions will be used to enslave the government and allow for its dissolution down the line if someone does not put their foot down to
coin correctly. That someone might be me. I just hope the court does not place their foot towards my butt to kick a case out.

Please do not increase taxes. I am acting in good faith.

Thank you,
Meg

----- Forwarded Message -----
From: Meg Kelly <meghankellyesq@yahoo.com>
To: Costa Ryan (DOJ) <ryan.costa@delaware.gov>
Cc: david.weiss@usdoj.gov <david.weiss@usdoj.gov>; Meg Kelly <meghankellyesq@yahoo.com>; usapae.usattorney@usdoj.gov <usapae.usattorney@usdoj.gov>; Attorneygeneral
Info <info@attorneygeneral.gov>; Naylor Margaret (Courts) <margaret.naylor@delaware.gov>; Matthew <matthewkosiorek@comcast.net>; Anthony Sodroski
<anthony.sodroski@pacourts.us>; Harriet Brumberg <harriet.brumberg@pacourts.us>
Sent: Saturday, February 22, 2025 at 08:43:29 PM EST
Subject: Position Ryan Costa/Fw: Other ideas to save the baby boomers/David Weiss our hope of a hero to save the world

Ryan,

David Weiss is no longer with the DOJ. State, counties and local governments are next on the chopping block for planned subpar automation.

Your pay, pension and livelihood are all in danger, same as teachers, cops, prison guards, doctors, nurses, universities and colleges and others. There are plans I take seriously to
unravel.

I have your back even if you tan my behind. You are absolutely in danger too not just federal employees. I am copying David Weiss because whoever is in his office will face me, and
before God and man I seek to protect my opponents position and pay too. There's a plan to automate the law, to eliminate people judges. I already showed you there are peopleless
courts in China. i want to protect US Attorney Generals too.

PA eliminated sitting US AGs too. Everyone in all states have not been appointed and confirmed yet to tempt them to be partial or risk losing their potential positions. It's more than a
month out, and no US AG has been properly confirmed since David Weiss left.

I am seriously thinking about suing Trump and Bessent to require they coin through the trillion dollar coin to fully fund the government. I may have to wait until the Fed touches funding
that affects me, but that is scheduled to happen soon.

What is your position if I write a motion to reopen in our case with leave and time to sue Trump and Bessent first. That way I can safeguard your pay and position, and allow for time for
Richard to hopefully overturn his case to potentially represent me.

You have nothing to lose. I averred repeatedly and alluded to it in Kelly v Trump my belief of the crash and schemed overthrow down the line.

Anthony and Harriet, I absolutely believe your pension and pay will be affected, and I want to require funding what is due without stealing from Peter to pay Paul to try to prevent you
from losing everything too.

If I am taken out work together to save what makes this nation already great you, the rule of law that protects life and liberty not sacrificing it for the mark of the beast material gain.
matthew 6:24. Human slavery and sacrifice even of one is bad, naughty and never good.

I copy and paste from my affidavit filed last ryan.

54. Someone must sue to compel the President and Treasury to coin correctly freely
not out of slavery debt to entice law makers and Presidents to incite debt by war, job corps,
sicknesses or other pain to keep the debt creation money rolling to enrich pockets of their
partners unjustly, while patting their own backs for enslaving the people by the pretty words job
creation. There should be no privatization of the government or partnerships.
55. There is a way to create money without stealing from Peter to pay Paul as
President Lincoln successfully did previously and President Kennedy tried to do. President
Lincoln created debt free, interest free money by signing the Act of Feb.25, 1862, ch. 33 § 1, 12
stat. 345.28. President Kennedy signed FR 5605, Exec. Order No. 11110, which also created
money without debt or interest, albeit after he was murdered it was withdrawn. president Lincoln
was able to pay soldiers who fought in the civil war money without enslaving the people to debt
to create it unjustly through compelled involuntary servitude.
56. The United States Supreme Court indicated President Lincoln’s paper money was
constitutional, overturning a prior case. In Knox
                                              Case v Lee, 79 U.S. 457 (1871), theDocument
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Court held that the Legal Tender Act, which authorized the printing of paper money, President
Lincoln’s Greenbacks, not redeemable in gold or silver, nor creating debt or incurring interest,
did not violate the U.S. Constitution. In so ruling, the Court reversed its earlier decision in
Hepburn v. Griswold, 8 Wall. 603, 623, 19 L.Ed. 513. There is a way out to reverse or prevent a
planned economic crash, which is designed to eliminate people staff to automation.
57. A court must compel the President and the Treasury to Defendants to coin money
without debt and interest under 31 U.S.C. § 5112 (k) to pay off the national debt in full and to
pay for federal employees and the operations of the federal government for all sums exceeding
the budget given the exigent circumstances.
58. 31 U.S.C. § 5112 (k) allows the Secretary of the Treasury to coin money through
the platinum bullion without debt and interest by her discretion, not the Federal Reserve.
59. The Courts should find it an abuse of discretion not to fund the judiciary while
funding the President’s pay and congressional pay. The Courts should find it an abuse of
discretion to be enslaved to any debt to be controlled not free to whomever the government
owes.
60. Even if the courts do not yet separate the government from science and private
partnerships yet, so it may restrain private people from enslaving and sacrificing others under the
lie of public good, the courts may consider requiring the President and Treasurer fully fund its
branch and itself to prevent a schemed overthrow with colluders within the government who
attack the government.
61. Sin hurts my heart. Other people’s sins too. It makes me care to do something
about it in hopes the sinner does not harm others, die to be doomed to hell.
62. The US Supreme court in Knox indicated it is permissible to create money out of
nothing to fully pay off debts. It is freedom not debt created money that is the treasure.
63. 31 U.S.C. § 5112 (k) provides: “(k) The Secretary may mint and issue platinum
bullion coins and proof platinum coins in accordance with such specifications, designs, varieties,
quantities, denominations, and inscriptions as the Secretary, in the Secretary's discretion, may
prescribe from time to time.”

Ryan you know I believe is sin and that God damns to hell those who create money out of debt secured partially based on other people's deposits, from 10 percent reserves to zero,
plus interest. See Ezekiel 18:13 to confirm the bible teaches people go to hell for lending out at a profit instead of mere return of collateral without repentance. (Hence the planned
borrowing subscription economy violates my religious beliefs on steroids where no one owns anything and pretends to be happy so they are not taken out of their misery and killed,
citing WEF 2016 article with my own side notes cutting through the fluff) Money creation by enslaving people to debt that cannot be paid back by design even if gold backed it in part
like it did around 2000 BC in Babylon. They could not nor can we pull gold out of thin air to allow for the payment in interest in full. People say it is hard to understand because it is
made not to logically work out to sustain the debt to sustain slavery control on a people who are products not free. Let us clean our hands and coin correctly to care for not control
others.

Thank you,
Meg
----- Forwarded Message -----
From: Meg Kelly <meghankellyesq@yahoo.com>
To: david.weiss@usdoj.gov <david.weiss@usdoj.gov>
Cc: Meg Kelly <meghankellyesq@yahoo.com>
Sent: Friday, August 20, 2021 at 04:41:23 PM EDT
Subject: Other ideas to save the baby boomers/David Weiss our hope of a hero to save the world

Dear Honorable US Attorney General David Weiss,

I hope you choose to balance the branches in court with kind correction and guidance to preserve our government.

You have many different options to save the world with your position as United States Attorney General.

You know that everyone's pensions and retirement are tied to debt, resold in the form of stocks, empty bubbles that appear more valuable by stock buy backs and manipulative reselling
in bulk transactions.

There is an intentional preventable stock market crash that will disarm our government of the power of the purse strings before taking over government power to the misbehaving
private partners of government.

We are in danger and respectfully request your help to save the world .

Criminal theories should you seek to reverse a crash that already occurred. Possibly allege a Ponzi scheme. The banks and stock market resell debt they do not have capital to pay for.
Deflations enrich the common man by making his money and savings buy more, while harming banks who make money off of the misery of others in desperate need forcing them to
become slaves to debt and interest. The federal reserve is run by the banks, with federal backing to save the banks not the customers. It is lawless, with no government oversight. The
Great Depression and the 2008 recession were manufactured by the banks for the benefits of the banks. Can you brain storm a ponzi theory with the banks and stock market, not to
pursue revenge but a change and correction, to care for the people?

Please take the power of the government to coin for the profit of private industry back to the government to care for the people, not exploit them for private industries and entities too.

Can you think of a second criminal theory.

In Delaware wolves, CEOs, Members, officials insulated from entities are taking bonuses and high salaries and hiding it in off shore accounts, essentially robbing our elderly of
pensions before a crash occurs. You could use criminal theories related to fiduciary roles to possibly take back the money. You see how the super rich are getting richer even though,
true value is diminishing since businesses have been closed, employees laid off. It doesn't make sense.

Attached please find Lincoln and Kennedy's executive orders to care for the people with the coining power, not feed the people's fat, their labor to wolves, by enslaving them to debt
and interest, a tax by the banks.

I have other ideas, but I am drained. I am concerned that I may die during this pandemic. So, I have a fire in my belly to ask you for help, in case it may be too late to ask. Forgive me
if I have typos or do not make sense. I think that you are the hope of the world.

Attached, please find a pdf version I found online of the Fourth industrial revolution, the 2017 update is longer. In addition, to a book that explains banking issues. You can key search it
to show banks create money out of nothingness, and get not only that money back in their pockets, but the interest too. The government should coin to care for the people, without
interest, and to fully fund the government.

I hope you have a nice weekend.

Thank you for considering being our hero, and the hero of the world. I hope you stay healthy and alive. We need you.

Very truly,
Meg
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global economy would return to its previous high-growth pattern was
widespread. But this has not happened. The global economy seems to be
stuck at a growth rate lower than the post-war average – about 3-3.5% a
year.

Some economists have raised the possibility of a “centennial slump” and
talk about “secular stagnation”, a term coined during the Great Depression
by Alvin Hansen, and recently brought back in vogue by economists Larry
Summers and Paul Krugman. “Secular stagnation” describes a situation of
persistent shortfalls of demand, which cannot be overcome even with near-
zero interest rates. Although this idea is disputed among academics, it has
momentous implications. If true, it suggests that global GDP growth could
decline even further. We can imagine an extreme scenario in which annual
global GDP growth falls to 2%, which would mean that it would take 36
years for global GDP to double.

There are many explanations for slower global growth today, ranging from
capital misallocation to over indebtedness to shifting demographics and so
on. I will address two of them, ageing and productivity, as both are
particularly interwoven with technological progress.

Ageing
The world’s population is forecast to expand from 7.2 billion today to 8
billion by 2030 and 9 billion by 2050. This should lead to an increase in
aggregate demand. But there is another powerful demographic trend: ageing.
The conventional wisdom is that ageing primarily affects rich countries in
the West. This is not the case, however. Birth rates are falling below
replacement levels in many regions of the world – not only in Europe,
where the decline began, but also in most of South America and the
Caribbean, much of Asia including China and southern India, and even some
countries in the Middle East and North Africa such as Lebanon, Morocco
and Iran.

Ageing is an economic challenge because unless retirement ages are
drastically increased so that older members of society can continue to
contribute to the workforce (an economic imperative that has many
economic benefits), the working-age population falls at the same time as the
percentage of dependent elders increases. As the population ages and there


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What evidence supports this and what does it tell us about what lies ahead?
The early signs point to a wave of labour-substitutive innovation across
multiple industries and job categories which will likely happen in the
coming decades.

Labour substitution
Many different categories of work, particularly those that involve
mechanically repetitive and precise manual labour, have already been
automated. Many others will follow, as computing power continues to grow
exponentially. Sooner than most anticipate, the work of professions as
different as lawyers, financial analysts, doctors, journalists, accountants,
insurance underwriters or librarians may be partly or completely automated.

So far, the evidence is this: The fourth industrial revolution seems to be
creating fewer jobs in new industries than previous revolutions. According
to an estimate from the Oxford Martin Programme on Technology and
Employment, only 0.5% of the US workforce is employed in industries that
did not exist at the turn of the century, a far lower percentage than the
approximately 8% of new jobs created in new industries during the 1980s
and the 4.5% of new jobs created during the 1990s. This is corroborated by
a recent US Economic Census, which sheds some interesting light on the
relationship between technology and unemployment. It shows that
innovations in information and other disruptive technologies tend to raise
productivity by replacing existing workers, rather than creating new
products needing more labour to produce them.

Two researchers from the Oxford Martin School, economist Carl Benedikt
Frey and machine learning expert Michael Osborne, have quantified the
potential effect of technological innovation on unemployment by ranking 702
different professions according to their probability of being automated, from
the least susceptible to the risk of automation (“0” corresponding to no risk
at all) to those that are the most susceptible to the risk (“1” corresponding to
a certain risk of the job being replaced by a computer of some sort).23 In
Table 2 below, I highlight certain professions that are most likely to be
automated, and those least likely.

This research concludes that about 47% of total employment in the US is at
risk, perhaps over the next decade or two, characterized by a much broader


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scope of job destruction at a much faster pace than labour market shifts
experienced in previous industrial revolutions. In addition, the trend is
towards greater polarization in the labour market. Employment will grow in
high-income cognitive and creative jobs and low-income manual
occupations, but it will greatly diminish for middle-income routine and
repetitive jobs.




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is a well-worn development pathway, allowing countries to accumulate
capital, transfer technology and raise incomes. If this pathway closes, many
countries will have to rethink their models and strategies of
industrialization. Whether and how developing economies can leverage the
opportunities of the fourth industrial revolution is a matter of profound
importance to the world; it is essential that further research and thinking be
undertaken to understand, develop and adapt the strategies required.

The danger is that the fourth industrial revolution would mean that a winner-
takes-all dynamic plays out between countries as well as within them. This
would further increase social tensions and conflicts, and create a less
cohesive, more volatile world, particularly given that people are today
much more aware of and sensitive to social injustices and the discrepancies
in living conditions between different countries. Unless public- and private-
sector leaders assure citizens that they are executing credible strategies to
improve peoples’ lives, social unrest, mass migration, and violent
extremism could intensify, thus creating risks for countries at all stages of
development. It is crucial that people are secure in the belief that they can
engage in meaningful work to support themselves and their families, but
what happens if there is insufficient demand for labour, or if the skills
available no longer match the demand?


3.1.3 The Nature of Work
The emergence of a world where the dominant work paradigm is a series of
transactions between a worker and a company more than an enduring
relationship was described by Daniel Pink 15 years ago in his book Free
Agent Nation.26 This trend has been greatly accelerated by technological
innovation.

Today, the on-demand economy is fundamentally altering our relationship
with work and the social fabric in which it is embedded. More employers
are using the “human cloud” to get things done. Professional activities are
dissected into precise assignments and discrete projects and then thrown
into a virtual cloud of aspiring workers located anywhere in the world. This
is the new on-demand economy, where providers of labour are no longer
employees in the traditional sense but rather independent workers who
perform specific tasks. As Arun Sundararajan, professor at the Stern School


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of Business at New York University (NYU), put it in a New York Times
column by journalist Farhad Manjoo: “We may end up with a future in
which a fraction of the workforce will do a portfolio of things to generate an
income – you could be an Uber driver, an Instacart shopper, an Airbnb host
and a Taskrabbit”.27

The advantages for companies and particularly fast-growing start-ups in the
digital economy are clear. As human cloud platforms classify workers as
self-employed, they are – for the moment – free of the requirement to pay
minimum wages, employer taxes and social benefits. As explained by
Daniel Callaghan, chief executive of MBA & Company in the UK, in a
Financial Times article: “You can now get whoever you want, whenever
you want, exactly how you want it. And because they’re not employees you
don’t have to deal with employment hassles and regulations.”28

For the people who are in the cloud, the main advantages reside in the
freedom (to work or not) and the unrivalled mobility that they enjoy by
belonging to a global virtual network. Some independent workers see this as
offering the ideal combination of a lot of freedom, less stress and greater
job satisfaction. Although the human cloud is in its infancy, there is already
substantial anecdotal evidence that it entails silent offshoring (silent
because human cloud platforms are not listed and do not have to disclose
their data).

Is this the beginning of a new and flexible work revolution that will
empower any individual who has an internet connection and that will
eliminate the shortage of skills? Or will it trigger the onset of an inexorable
race to the bottom in a world of unregulated virtual sweatshops? If the result
is the latter – a world of the precariat, a social class of workers who move
from task to task to make ends meet while suffering a loss of labour rights,
bargaining rights and job security – would this create a potent source of
social unrest and political instability? Finally, could the development of the
human cloud merely accelerate the automation of human jobs?

The challenge we face is to come up with new forms of social and
employment contracts that suit the changing workforce and the evolving
nature of work. We must limit the downside of the human cloud in terms of
possible exploitation, while neither curtailing the growth of the labour
market nor preventing people from working in the manner they choose. If we


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ethics.

New frontiers in global security
As stressed several times in this book, we only have a limited sense of the
ultimate potential of new technologies and what lies ahead. This is no less
the case in the realm of international and domestic security. For each
innovation we can think of, there will be a positive application and a
possible dark side. While neurotechnologies such as neuroprosthetics are
already employed to solve medical problems, in future they could be
applied to military purposes. Computer systems attached to brain tissue
could enable a paralysed patient to control a robotic arm or leg. The same
technology could be used to direct a bionic pilot or soldier. Brain devices
designed to treat the conditions of Alzheimer’s disease could be implanted
in soldiers to erase memories or create new ones. “It’s not a question of if
non-state actors will use some form of neuroscientific techniques or
technologies, but when, and which ones they’ll use,” reckons James
Giordano, a neuroethicist at Georgetown University Medical Center, “The
brain is the next battlespace.”51

The availability and, at times, the unregulated nature of many of these
innovations have a further important implication. Current trends suggest a
rapid and massive democratization of the capacity to inflict damage on a
very large scale, something previously limited to governments and very
sophisticated organizations. From 3D-printed weapons to genetic
engineering in home laboratories, destructive tools across a range of
emerging technologies are becoming more readily available. And with the
fusion of technologies, a key theme of this book, unpredictable dynamics
inherently surface, challenging existing legal and ethical frameworks.

Towards a more secure world
In the face of these challenges, how do we persuade people to take the
security threats from emerging technologies seriously? Even more
importantly, can we engender cooperation between the public and private
sectors on the global scale to mitigate these threats?

Over the second half of the last century, the fear of nuclear warfare
gradually gave way to the relative stability of mutually assured destruction

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              Shift 17: The Sharing Economy

The tipping point: Globally more trips/journeys via car sharing than in private cars
By 2025: 67% of respondents expected this tipping point to have occurred
The common understanding of this phenomenon is the usually technology-enabled ability for entities
(individuals or organizations) to share the use of a physical good/asset, or share/provide a service, at a
level that was not nearly as efficient or perhaps even possible before. This sharing of goods or
services is commonly possible through online marketplaces, mobile apps/location services or other
technology-enabled platforms. These have reduced the transaction costs and friction in the system to a
point where it is an economic gain for all involved, divided in much finer increments.
Well-known examples of the sharing economy exist in the transportation sector. Zipcar provides one
method for people to share use of a vehicle for shorter periods of time and more reasonably than
traditional rental car companies. RelayRides provides a platform to locate and borrow someone’s
personal vehicle for a period of time. Uber and Lyft provide much more efficient “taxi-like” services
from individuals, but aggregated through a service, enabled by location services and accessed through
mobile apps. In addition, they are available at a moment’s notice.
The sharing economy has any number of ingredients, characteristics or descriptors: technology
enabled, preference for access over ownership, peer to peer, sharing of personal assets (versus
corporate assets), ease of access, increased social interaction, collaborative consumption and openly
shared user feedback (resulting in increased trust). Not all are present in every “sharing economy”
transaction.

Positive impacts
– Increased access to tools and other useful physical resources
– Better environmental outcomes (less production and fewer assets required)
– More personal services available
– Increased ability to live off cash flow (with less need for savings to be able to afford use of assets)
– Better asset utilization
– Less opportunity for long-term abuse of trust because of direct and public feedback loops
– Creation of secondary economies (Uber drivers delivering goods or food)

Negative impacts
– Less resilience after a job loss (because of less savings)
– More contract / task-based labour (versus typically more stable long-term employment)
– Decreased ability to measure this potentially grey economy
– More opportunity for short-term abuse of trust
– Less investment capital available in the system

Unknown, or cuts both ways
– Changed property and asset ownership
– More subscription models
– Less savings
– Lack of clarity on what “wealth” and “well off” mean


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Could an AI ever replace a judge in court? | World Government Summit                           https://www.worldgovernmentsummit.org/observer/articles/2017/detail/could-an-ai-ever-replace-a-j...
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                          Observer / Articles / 2017



                          Could an AI ever replace a judge in court?




                          Will an AI ever replace a judge                                                                              Will an AI ever replace a judge




                          Nov 07, 2017


                          B r i o ny H a r r i s                           Xiaofa stands in Beijing No 1 Intermediate People’s Court, offering legal
                          Senior Writer at Formative Content               advice and helping the public get to grips with legal terminology. She
                                                                           knows the answer to more than 40,000 litigation questions and can
                                                                           deal with 30,000 legal issues. Xiaofa is a robot.

                                                                           China already has more than 100 robots in courts across the country
                          Share the Article                                as it actively pursues a transition to smart justice. These can retrieve
                                                                           case histories and past verdicts, reducing the workload of ofﬁcials.
                                                                           Some of the robots even have specialisms, such as commercial law or
                                                                           labour-related disputes.

                                                                           Chinese courts also use artiﬁcial intelligence to sift through private
                                                                           messages or comments on social media that can be used as evidence
                                                                           in court. And trafﬁc police are reportedly using facial recognition
                                                                           technology to identify and convict offenders.

                                                                           But these legal uses for AI are just the beginning of what may be
                                                                           possible in the future.


                                                                           An aide to judges
                                                                           China has a civil law system that uses case law to determine the
                                                                           outcome of trials. With just 120,000 judges to deal with 19 million cases
                                                                           a year, it is little wonder the legal system is turning to AI, law ﬁrm
                                                                           Norton Rose Fulbright says.

                                                                           The Supreme People’s Court has asked local courts to take advantage
                                                                           of big data, cloud computing, neural networks and machine learning. It
                                                                           wants to build technology-friendly judicial systems and explore the
                                                                           use of big data and AI to help judges and litigants resolve cases.

                                                                           An application named Intelligent Trial 1.0 is already reducing judges’
                                                                           workloads by helping sift through material and producing electronic


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                                                                           court ﬁles and case material.

                                                                           But the emphasis
                                                                       About        Events & is still on helping –Community
                                                                                             Initiatives           rather than replacing –‫ﻴﺔ‬judges,
                                                                                                                                             ‫اﻟﻌﺮﺑ‬
                                                                           barristers and lawyers.

                                                                           “The application of artiﬁcial intelligence in the judicial realm can
                                                                           provide judges with splendid resources, but it can’t take the place of
                                                                           the judges’ expertise,” said Zhou Qiang, the head of the Supreme
                                                                           People’s Court, who advocates smart systems.


                                                                           Eliminating bias?
                                                                           But recent advances in AI mean the technology can do far more than
                                                                           sifting through vast quantities of data. It is developing cognitive skills
                                                                           and learning from past events and cases.

                                                                           This inevitably leads to questions as to whether AI will one day make
                                                                           better decisions than humans.

                                                                           All human decisions are susceptible to prejudice and all judicial
                                                                           systems suffer from unconscious bias, despite the best of intentions.

                                                                           Algorithms that can ignore factors that do not legally bear on individual
                                                                           cases, such as gender and race, could remove some of those failings.

                                                                           One of the most important considerations for judges is whether to
                                                                           grant bail and how long prison sentences should be. These decisions
                                                                           are usually dictated by the likelihood of reoffending.

                                                                           Algorithms are now able to make such decisions by giving an
                                                                           evidence-based analysis of the risks, rather than relying on the
                                                                           subjective decision-making of individual judges.

                                                                           Despite these obvious advantages, it is far from clear who would
                                                                           provide oversight of the AI and check their decisions are not ﬂawed.
                                                                           And more cautious observers warn that AIs may learn and mimic bias
                                                                           from their human inventors or the data they have been trained with.


                                                                           Making connections
                                                                           But AI could also help solve crimes long before a judge is involved.
                                                                           VALCRI, for example, carries out the labour-intensive aspects of a crime
                                                                           analyst’s job by wading through texts, lab reports and police
                                                                           documents to highlight areas that warrant further investigation and
                                                                           possible connections that humans might miss.

                                                                           AIs could also help to detect crimes before they happen. Meng Jianzhu,
                                                                           former head of legal and political affairs at the Chinese Communist
                                                                           Party, said the Chinese government would start to use machine
                                                                           learning and data modelling to predict where crime and disorder may
                                                                           occur.

                                                                           “Artiﬁcial intelligence can complete tasks with a precision and speed
                                                                           unmatchable by humans, and will drastically improve the
                                                                           predictability, accuracy and efﬁciency of social management,” Mr
                                                                           Meng said.


                                                                           Setting a precedent
                                                                           It is as yet uncertain which of these technologies may become
                                                                           widespread and how different governments and judiciaries will
                                                                           choose to monitor their use.

                                                                           The day when technology will become the judge of good and bad
                                                                           human behaviour and assign appropriate punishments still lies some
                                                                           way in the future.

                                                                           However, legal systems often provide ideal examples of services that
                                                                           could be improved, while trials are likely to beneﬁt from better data
                                                                           analysis.

                                                                           The law often requires a trial to set a precedent – so watch out for the
                                                                           test case of AI as judge.




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              Robot justice: China’s use of Internet
                              courts
                                                                   By Tara Vasdani
             This article was originally published by The Lawyer’s Daily (https://www.thelawyersdaily.ca/), part of LexisNexis
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           Would it scare you if I said that China has been doing this since 2017?

           In December 2019, China has announced that millions of legal cases are now being decided by “Internet
           courts” that do not require citizens to appear in court. The “smart court” includes non-human judges,
           powered by arti�cial intelligence (AI) and allows participants to register their cases online and resolve their
           matters via a digital court hearing.

           The Chinese Internet courts handle a variety of disputes, which include intellectual property, e-commerce,
           �nancial disputes related to online conduct, loans acquired or performed online, domain name issues,
           property and civil rights cases involving the Internet, product liability arising from online purchases and
           certain administrative disputes. In Beijing, the average duration of a case is 40 days; the average dispositive
           hearing lasts 37 minutes; almost 80 per cent of the litigants before the Chinese Internet courts are
           individuals, and 20 per cent corporate entities; and 98 per cent of the rulings have been accepted without
           appeal.

           It is 2020. Your Canadian commercial dispute is paperless. A document management platform sifts through
           all parties’ documents to �ag relevant vs. non-relevant documents. A subsequent platform reviews the
           relevant documents, and tells you that your case has the stronger evidentiary background.

           A legal research tool in the meantime is determining whether a shareholder may attract wages for services
           performed, or simply be paid dividends. It’s time to move to summary judgment. An Online Dispute
           Resolution (ODR) tool reviews your motion materials, your Af�davit (e-signed) and the Responding Record.
           An AI judge �ags a case from 1970 that still applies today and — you win your dispute. The decision can be
           appealed to a human judge.

           Cost savings? Astronomical. A preliminary decision? Within one month. The AI judge’s eye for 1970 case law?
           Well, he’s not hungry or tired like your articling student.

           China’s �rst Internet court was established in the eastern city of Hangzhou in 2017 and in 2019, it was
           reported that users completed more than 3.1 million legal activities using the court system from March



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           through to October. More than one million citizens were registered with the system, along with
           approximately 73,000 lawyers.

           Judicial of�cials recently invited reporters to the Hangzhou Internet court to see how it operates. In a
           demonstration, citizens were seen using video messaging to communicate with the AI judges, and the
           following was observed:

           “Does the defendant have any objection to the nature of the judicial blockchain evidence submitted by the
           plaintiff?” a virtual judge asked during a pretrial meeting. The non-human judge was represented in the
           system by an image of a man wearing a black robe.

           “No objection,” the human plaintiff answered.

           The judges “appeared” by hologram and are arti�cial creations — there is no real judge present. The
           holographic judge looks like a real person but is a synthesized, 3D image of different judges, and sets
           schedules, asks litigants questions, takes evidence and issues dispositive rulings.

           A Hangzhou court of�cial told China’s state-run CGTN television network that the Internet court system
           operates 24 hours a day, seven days a week.

           In today’s marketplace where almost everything is purchased or transacted online, the potential for this type
           of court system is signi�cant.

           In a previous article (https://www.thelawyersdaily.ca/articles/11582/estonia-set-to-introduce-ai-judge-in-
           small-claims-court-to-clear-court-backlog-), I commented on Estonia’s adoption of an AI judge to settle small
           claims disputes. Prior to that, I commented on the Ontario Superior Court of Justice’s pilot project launched
           on Feb. 11, 2019, the Digital Hearing Workspace (https://www.thelawyersdaily.ca/articles/10192/digital-
           hearing-workspace-pilot-project-one-step-closer-to-court-modernization-) (DHW). The program is
           currently used to deliver, store, organize and retrieve all documents relevant to a �le, electronically. It applies
           to all Commercial List proceedings, and failure to upload documents to the platform is addressed by a
           presiding court of�cial.

           Combined with an ODR system or AI-powered judges, and considering the backlog of civil and commercial
           disputes experienced by litigants in Canada, the idea of an AI judge seems to resolve many current issues.
           And it is not too far from our midst.

           The U.S. recently forecasted a time when AI-driven legal assistants might be presenting judges with case law,
           precedents and the background needed to make a decision. Hear that? Legal assistants.

           In 2019, I reviewed a very helpful, and very vanguard legal research AI tool championed by the Toronto-
           based company, Alexsei.

           Tools such as Alexsei use machine learning to identify relevant and up-to-date case law across the web and



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           scan the Internet to discern lawyers’ opinions on cases as identi�ed in their legal blogs. The software then
           generates a legal memorandum within 24 hours of being asked a legal research question.

           China, or Estonia as I reported in 2019, are not the �rst to mix AI and the law. In the United States,
           algorithms assist in recommending criminal sentences. The widely popular U.K.-based app DoNotPay, an AI-
           driven chatbot, overturned 160,000 parking tickets in London and New York a few years ago.

           The international deployment of Internet courts is just another step in the saga of the eventual automation
           of certain legal tasks and processes.

           Taken in harmony, the last year in Canada alone saw the adoption of directives within the federal
           government regarding AI’s replacement of mundane administrative tasks; judges’ reprisal for the failure to
           use legal research AI tools to assist in conducting research and saving client legal fees; the DHW, requiring
           counsel and parties to upload their documents to an electronic �ling system; and my personal favourite,
           Google’s Duplex which I hope will arrive into our industry soon.

           All in all, I repeat, adopt and reiterate that the legal industry’s resistance to the above changes will create
           great hurdles to lawyers and their staff alike. Modern judiciaries have already begun to expect the employ of
           legal tech tools by counsel, students and the courts. Should lawyers choose not to live up to the challenge,
           they could end up with a very disappointed client, potentially large and assessment-worthy client cost
           consequences and since 2017, an algorithm’s reprisal.

           Tara Vasdani is the principal lawyer and founder of Remote Law Canada
           (https://www.remotelawcanada.com/). Her practice centres on employment law, civil litigation and remote work.
           She has been featured in Forbes. She was the �rst Canadian lawyer to serve a statement of claim via Instagram, and
           you can reach her directly at tara@remotelawcanada.com (mailto:tara@remotelawcanada.com).

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                                                                                                                                                                                IV




                                                                        119TH CONGRESS
                                                                           1ST SESSION
                                                                                                             H. RES. 229
                                                                           Impeaching James E. Boasberg, United States District Court Chief Judge
                                                                               for the District of Columbia, for high crimes and misdemeanors.




                                                                                      IN THE HOUSE OF REPRESENTATIVES
                                                                                                      MARCH 18, 2025
                                                                        Mr. GILL of Texas (for himself, Mr. CRANE, Mr. COLLINS, Mr. CARTER of
                                                                            Georgia, Mr. MOORE of Alabama, and Mr. CLYDE) submitted the fol-
                                                                            lowing resolution; which was referred to the Committee on the Judiciary




                                                                                                    RESOLUTION
                                                                        Impeaching James E. Boasberg, United States District Court
                                                                           Chief Judge for the District of Columbia, for high crimes
                                                                           and misdemeanors.

                                                                          1              Resolved, That James E. Boasberg, Chief Judge,
                                                                          2 United States Court for the District of Columbia, is im-
                                                                          3 peached for high crimes and misdemeanors, and that the
                                                                          4 following article of impeachment be exhibited to the
                                                                          5 United States Senate.
                                                                          6              Article of impeachment exhibited by the House of
                                                                          7 Representatives of the United States of America in the
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                                                                          8 name of itself and of the people of the United States of
                                                                          9 America, against James E. Boasberg, Chief Judge, United


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                                                                                                                                   2
                                                                          1 States District Court for the District of Columbia, in
                                                                          2 maintenance and support of its impeachment against him
                                                                          3 for high crimes and misdemeanors.
                                                                          4                                 ARTICLE I: ABUSE OF POWER

                                                                          5
                                                                          6              Chief Judge Boasberg, in violation of his oath of of-
                                                                          7 fice, did knowingly and willfully use his judicial position
                                                                          8 to advance political gain while interfering with the Presi-
                                                                          9 dent’s constitutional prerogatives and enforcement of the
                                                                        10 rule of law.
                                                                        11               The Constitution provides that the House of Rep-
                                                                        12 resentatives ‘‘shall have the sole Power of Impeachment’’
                                                                        13 and that ‘‘civil Officers of the United States,’’ including
                                                                        14 Federal Judges, are subject to impeachment and removal.
                                                                        15               Further, the separation of powers under the Con-
                                                                        16 stitution grants the President broad authority over the ex-
                                                                        17 ecutive branch, including authority to protect the nation,
                                                                        18 as part of his role in ensuring the administration of laws,
                                                                        19 including the Alien Enemies Act, and policies of the
                                                                        20 United States.
                                                                        21               The Alien Enemies Act commits to the President’s
                                                                        22 sole and unreviewable discretion the authority to invoke
                                                                        23 the provisions of the Act, including the power to determine
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                                                                        24 whether an invasion has taken place. As the Supreme
                                                                        25 Court has explained, for a court to second-guess a Presi-
                                                                        26 dent’s determination under the Alien Enemies Act ‘‘would
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                                                                                                                                   3
                                                                          1 be assuming the functions of the political agencies of the
                                                                          2 Government’’ and ‘‘[i]t is not for [courts] to question’’ the
                                                                          3 President’s determinations under the Alien Enemies Act
                                                                          4 because ‘‘[t]hese are matters of political judgement for
                                                                          5 which judges have neither technical competence nor offi-
                                                                          6 cial responsibility.’’ Ludecke Y. Watkins, 335 U.S.
                                                                          7 160(1948). Yet, notwithstanding this binding precedent
                                                                          8 from the highest court in the land, Chief Judge Boasberg
                                                                          9 has done exactly what the Supreme Court command not
                                                                        10 be done, and has illegitimately tried to substitute his own
                                                                        11 judgement for that of the elected President of the United
                                                                        12 States, thereby usurping the role of the Executive and uni-
                                                                        13 laterally taking upon himself the power and authority of
                                                                        14 the President.
                                                                        15               Through his conduct, in which he violated his oath
                                                                        16 to the Constitution and duty of impartiality to the people
                                                                        17 of the United States, Chief Judge Boasberg has abused
                                                                        18 the powers of his judicial authority, having engaged in ac-
                                                                        19 tions that prioritize political.gain over the duty of impar-
                                                                        20 tiality owed to the public and litigants as follows:
                                                                        21                         (1) Chief Judge Boasberg has prevented Presi-
                                                                        22               dent Trump from removing aliens associated with
                                                                        23               Tren de Aragua, a designated Foreign Terrorist Or-
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                                                                        24               ganization from the United States.




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                                                                                                                                   4
                                                                          1                        (2) Chief Judge Boasberg required President
                                                                          2              Trump to turn around planes midair that had aliens
                                                                          3              associated with Tren de Aragua, a designated For-
                                                                          4              eign Terrorist Organization.
                                                                          5              This conduct jeopardizes the safety of the nation,
                                                                          6 represents an abuse of judicial power, and is detrimental
                                                                          7 to the orderly functioning of the judiciary. Using the pow-
                                                                          8 ers of his office, Chief Judge Boasberg has attempted to
                                                                          9 seize power from the Executive Branch and interfere with
                                                                        10 the will of the American people.
                                                                        11               In so doing, Chief Judge Boasberg used the powers
                                                                        12 of his position to engage in actions that overstep his judi-
                                                                        13 cial authority. By making a political decision outside the
                                                                        14 scope of his judicial duties, he compromised the impar-
                                                                        15 tiality of our judicial system and created a constitutional
                                                                        16 crisis.
                                                                        17               Wherefore, Chief Judge Boasberg is guilty of high
                                                                        18 crimes and misdemeanors and should be removed from of-
                                                                        19 fice.
                                                                                                                                   Æ
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                                        November 8, 2024


Via email: MRUFOIA.Requests@usdoj.gov

FOIA/PA Mail Referral Unit
Department of Justice
Room 115
LOC Building
Washington, DC 20530

       Re: FOIA request for Department of Justice records regarding Special Prosecutor Jack
       Smith’s probe of President-elect Donald Trump.

Dear FOIA Oﬃcer,

       This letter serves as an oﬃcial Freedom of Information Act (FOIA) request by the State of
Texas, facilitated through Texas Attorney General Ken Paxton’s oﬃce in relation to Special
Counsel Jack Smith’s investigation into President-elect Trump.

        Texas’s requests are set forth below. Should any record or portion of records be claimed as
exempt under FOIA, then a suﬃcient amount of information must be provided in response that
allows our oﬃce to assess the validity of that claim. Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973).
Further, as per 5 U.S.C. § 552(b), all reasonably segregable information must be produced, even if
other information is exempt under FOIA.

        The State of Texas is requesting a waiver of all fees, and meets the criteria per Justice
Department policy. This information request is in the public interest, as it will provide critical
information for the public understanding of the Oﬃce of Special Counsel’s activities. This request
does not serve the commercial interest of the Attorney General’s oﬃce. This request is made in
the State of Texas’s sovereign capacity. And this FOIA request seeks information that is important
for the American people. FOIA serves as “a means for citizens to know what their Government is
up to.” Nat’l Archives & Records Admin. v. Favish, 541 U.S. 157, 171 (2004). And it provides “a
structural necessity in a real democracy.” The Texas Attorney General’s Oﬃce frequently updates
constituents on important, newsworthy information. The Oﬃce issues press releases, and posts
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news on its website that is frequently reported on by the press. The information from this FOIA
request will signiﬁcantly contribute to the public’s understanding of the Special Counsel’s
investigation, particularly when the subject of that investigation has been elected as the 47th
President of the United States.

       Regrettably, past Oﬃces of Special Counsel appear to have intentionally destroyed
documents responsive to similar requests made for their records at the end of their tenure. 1 Our
oﬃce would consider any destruction of the documents requested herein to be a crime under 18
U.S.C. § 1361, and would refer the matter for prosecution in the event destruction occurs.
Furthermore, the following requests constitute only a subset of the Oﬃce of Special Counsel’s
records. Our oﬃce may make further requests in the near future. We accordingly demand that, in
addition to your existing records retention obligations under federal law, you retain all records in
the event that litigation over this request or future ones becomes warranted.

        The following deﬁnitions apply to each of the following requests:

The term “Communications” means any disclosure, transfer, or exchange of information or
opinion, however made, including oral, graphic, written, or electronic transmittal of information.

The term “Document” or “Documents” means any written, photocopied, transcribed, recorded
or otherwise produced information however produced or reproduced in the possession of DOJ
including, but not limited to, inter-oﬃce communications; memoranda; reports; correspondence;
manuals; guidelines; meeting agendas; minutes of meetings; calendar appointments; records;
instructions; notes; diaries; plans; photographs; photocopies; charts; descriptions; drafts, whether
or not they resulted in a ﬁnal document; agreements; letters; conferences; records or notes of
telephone or other conversations or communications; publications; directives; statements;
proposals; studies; working papers; indices; recordings or materials similar to any of the foregoing.




1
    https://www.grassley.senate.gov/news/news-releases/doj-foia-release-members-mueller-team-repeatedly-wiped-
phones-watchdog-sought.
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                                            REQUESTS

         1. All Communications from any current or former member of the Oﬃce of Special
            Counsel Jack Smith to any New York State governmental oﬃce since November 18,
            2022. This request includes, but is not limited to, all Communications sent to any
            of the following email domains:
                  i. @exec.ny.gov
                 ii. @ag.ny.gov
                iii. @dany.nyc.gov

         2. All Communications from any current or former member of the Oﬃce of Special
            Counsel Jack Smith to the Fulton County District Attorney’s oﬃce since November
            18, 2022. This request includes, but is not limited to, all Communications sent to
            any of the following email domains:
                 i. @fultonda.org

         3. All Communications from any current or former member of the Oﬃce of Special
            Counsel Jack Smith to any Congressional oﬃce. This request includes, but is not
            limited to, all Communications sent to any of the following email domains:
                 i. mail.house.gov
                ii. .senate.gov

         4. All communications from any current or former member of the Oﬃce of Special
            Counsel Jack Smith to any governmental or law enforcement oﬃcer in the State of
            Texas. This request includes, but is not limited to, all Communications sent to any
            of the following email domains:
                  i. @dps.texas.gov
                 ii. @traviscountytx.gov
                iii. @house.texas.gov
                iv. @senate.texas.gov

         5. Documents memorializing the Oﬃce of Special Counsel Jack Smith’s ﬁnal
            reasoning to request that a trial against President-elect Trump to start in January of
            2024. These documents should include all internal messages that contributed to a
            ﬁnal decision, communications with actors who are not employed in the Oﬃce of
            the Special Counsel or by the federal government, and any memorandums
            circulated within the Oﬃce of Special Counsel Jack Smith regarding this subject.
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         6. Documents suﬃcient to show all mobile numbers and corresponding asset tag
            numbers assigned to the staﬀ of Oﬃce of Special Counsel Jack Smith.



                                                                          ________
                                                                          Ken Paxton
                                                               Texas Attorney General
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                                               November 8, 2024

Mr. Jack Smith
Special Counsel
U.S. Department of Justice
950 Pennsylvania Avenue, N.W.
Washington, DC 20530-0001

Dear Mr. Smith:

        The Committee on the Judiciary is continuing its oversight of the Department of Justice
and the Office of Special Counsel. According to recent public reports, prosecutors in your office
have been “gaming out legal options” in the event that President Donald Trump won the
election.1 With President Trump’s decisive victory this week, we are concerned that the Office of
Special Counsel may attempt to purge relevant records, communications, and documents
responsive to our numerous requests for information.2 The Office of Special Counsel is not
immune from transparency or above accountability for its actions. We reiterate our requests,
which are itemized in the attached appendix and incorporated herein, and ask that you produce
the entirety of the requested material as soon as possible but no later than November 22, 2024.

         Furthermore, this letter serves as a formal request to preserve all existing and future
records and materials related to the Office of Special Counsel’s investigations and prosecutions
of President Trump. You should construe this preservation notice as an instruction to take all
reasonable steps to prevent the destruction or alteration, whether intentionally or negligently, of
all documents, communications, and other information, including electronic information and
metadata, that are or may be responsive to this congressional inquiry. This instruction includes
all electronic messages sent using official and personal accounts or devices, including records
created using text messages, phone-based message applications, or encryption software.




1
  Katelyn Polantz, Special counsel Jack Smith’s office is bracing for retribution if Trump wins, CNN (Nov. 1, 2024).
2
  Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to Hon. Merrick B. Garland, Atty Gen., U.S.
Dep’t of Just. (June 1, 2023); Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to Hon. Merrick
B. Garland, Atty Gen., U.S. Dep’t of Just. (June 6, 2023); Letter from Rep. Jim Jordan, Chairman, H. Comm. on the
Judiciary, to Hon. Merrick B. Garland, Atty Gen., U.S. Dep’t of Just. (Aug. 29, 2023); Letter from Rep. Jim Jordan,
Chairman, H. Comm. on the Judiciary, to Jack Smith, Special Couns., U.S. Dep’t of Just. (Sept. 7, 2023); Letter
from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, and Rep. Andy Biggs, Chairman, H. Comm. on the
Judiciary’s Subcomm. on Crime and Fed. Gov’t Surveillance, to Jack Smith, Special Couns., U.S. Dep’t of Just.
(Dec. 21, 2023); Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to Jay I. Bratt, Couns. to the
Special Couns., U.S. Dep’t of Just. (June 6, 2024).
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       If you have any questions about this request, please contact Committee staff at (202) 225-
6906. Pursuant to the Rules of House of Representatives, the Committee on the Judiciary is
authorized to conduct oversight of the Justice Department.3

           Thank you for your prompt attention to this matter.

                                                       Sincerely,




           Jim Jordan                                                   Barry Loudermilk
           Chairman                                                     Chairman
           Committee on the Judiciary                                   Subcommittee on Oversight
                                                                        Committee on House Administration



cc:        The Honorable Jerrold L. Nadler, Ranking Member, Committee on the Judiciary
           The Honorable Norma Torres, Ranking Member, Subcommittee on Oversight,
           Committee on House Administration

Enclosure




3
    Rules of the U.S. House of Representatives, R. X, 118th Cong. (2023).
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                         Appendix: Outstanding Oversight Requests

June 1, 2023:

   1. Provide information about the use of FBI personnel by Special Counsel Jack Smith,
      including but not limited to the following:

          a. The total number of FBI employees assigned to work on the investigation;

          b. The number of FBI employees from FBI Headquarters working on the
             investigation; and

          c. The number of FBI employees from the Washington Field Office working on the
             investigation;

   2. Explain whether any FBI employees who have worked on Special Counsel Smith’s
      investigation previously worked on any other matters concerning President Trump; and

   3. Explain whether Special Counsel Smith’s investigation relies on any information or
      material gathered exclusively by the FBI prior the Special Counsel’s appointment.

August 29, 2023:

   1. All documents and communications referring or relating to any appointment, meeting, or
      other visit by Jay Bratt to the White House or the Executive Office of the President; and

   2. All documents and communications between the Executive Office of the President and
      the Department of Justice referring or relating to the investigation and/or prosecutions of
      Special Counsel Jack Smith.

September 7, 2023:

   1. All documents and communications referring or relating to any appointment, meeting, or
      other visit by Stanley Woodward to the Justice Department, including the Office of the
      Special Counsel, concerning the representation of Walt Nauta;

   2. All documents and communications between or among the Office of the Special
      Counsel, the Office of the Attorney General, or the Office of the Deputy Attorney
      General referring or relating to Mr. Woodward and his representation of individuals
      involved in the matters before you; and

   3. All documents and communications referring or relating to Mr. Woodward’s application
      to fill a vacancy on the Superior Court of the District of Columbia.
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December 21, 2023:

   1. All documents and communications between or among the Office of Special Counsel, the
      Office of the Attorney General, or the Office of the Deputy Attorney General referring or
      relating to the investigation and prosecution of President Donald Trump;

   2. All documents and communications sufficient to identify the universe of current and
      former Office of Special Counsel staff members, including but not limited to the
      following information:

          a.    Salaries for each Office of Special Counsel member of staff;

          b. Travel costs incurred and trips taken by each Office of Special Counsel member
             of staff as it relates to the investigation and prosecution of President Trump; and

          c. The organizational structure of the Office of Special Counsel.

   3. All documents and communications referring or relating to the hiring and selection of
      current and former Office of Special Counsel staff members, including but not limited to
      the following information:

          a. Job postings or solicitations;

          b. Hiring criteria or prospective employees’ evaluations; and

          c. Communications between the Office of Special Counsel and prospective
             employees.

   4. All documents and communications referring or relating to the “Warrant by Telephone or
      Other Reliable Electronic Means,” filed In the Matter of the Search of Information That
      Is Stored at Premises Controlled by Twitter Inc., Identified in Attachment A, Case No.
      23-SC-31 (D.D.C. 2023).

June 6, 2024:

   1. All documents and communications referring or relating to meetings between FBI and
      Justice Department officials sent to or received by you prior to the execution of the
      search warrant on President Trump’s private residence;

   2. All documents and communications between or among yourself, employees of the
      Department of Justice, and employees of the Executive Office of the President from
      January 2021 to the present, related to the investigation and prosecution of President
      Trump, including, but not limited to, email communications and notes taken during your
      meetings with White House officials;

   3. All documents and communications sent to or received by you referring or relating to
      your May 24, 2024, motion to modify President Trump’s conditions of release, including,
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      but not limited to, all drafts of the motion and communications between employees of the
      Office of Special Counsel Jack Smith discussing the motion and timing of its filing; and

   4. All documents and communications between or among you and the Office of
      Professional Responsibility about your course of improper conduct and unethical actions
      as an employee of the Office of Special Counsel Jack Smith.
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Republicans push for criminal probe into judge in Trump hush
money case – and the judge’s daughter
Mike Bedigan
Sun, November 10, 2024 at 6:34 PM EST                                                                177
4 min read




Republicans push for criminal probe into judge in Trump hush money case – and the judge’s daughter


               Generate Key Takeaways
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In the wake of Donald Trump’s sweeping victory, Republicans are turning their
attention to those in the judicial system who went up against the president-elect
in the courts.
Speaking on Fox News on Sunday, Florida Representatives Anna Paulina Luna and
Cory Mills floated the idea that criminal charges could be brought against Judge
Juan Merchan – and his daughter Loren Merchan.
Merchan oversaw Trump’s high-profile hush money case where he was ultimately
convicted of 34 felonies in New York earlier this year. His daughter subsequently
became the target of attacks by the president-elect due to her Democrat-leaning
political activities.
                                   ADVERTISEMENT



“Let’s look at Judge Merchan and his daughter, who was actually a fundraiser and
was actually trying to support Kamala Harris and Joe Biden when it came to
raising funds on the back of President Trump being in the New York court system,”
Mills said.
“I think that what we’re seeing right now is that the Department of Injustice and
the lawfare that was going on is now coming to a screeching halt with President-
elect Donald Trump coming back into office.”
During the hush money trial, Trump ignored an order from Merchan that he should
rein in his fiery posts on social media, in which he accused the judge of having a
“Trump-hating family” with ties to Kamala Harris.
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Florida Representatives Anna Paulina Luna (left) and Cory Mills (right) floated the idea that criminal
charges could be brought against Judge Juan Merchan, and his daughter (Fox News)

“I have a Trump-hating judge with a Trump-hating wife and family, whose daughter
worked for Kamala Harris, and now receives money from the Biden-Harris
campaign – and a lot of it,” he said.
                                              ADVERTISEMENT



According to Mike Nellis, founder of political consulting firm Authentic Campaigns
Inc, which employs Loren Merchan, she did some work for Harris’s presidential
campaign in 2019 but never “developed an individual personal relationship” with
the candidate, and had only “minimal input or contact with any political clients”
during the 2024 election cycle.
Nellis said Merchan had received death threats following Trump’s comments and
had been advised to stay away from the family home.
In August, the House judiciary chairman Jim Jordan, a key ally of Trump,
subpoenaed the firm to testify as part of his investigation into what he called the
“weaponization” of the federal goverment. However, Nellis said any suggestion
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that the company played any part in Trump’s criminal trial or conviction was
“completely false and purely politically motivated.”
On Sunday, Mills and Luna also discussed possible criminal cases being pursued
against Special Counsel Jack Smith, who brought charges against Trump for
trying to subvert the 2020 presidential election and mishandling classified
documents.




Judge Juan Merchan oversaw Trump’s high profile hush money case where he was ultimately convicted
of 34 felonies in New York earlier this year (AP)

It was reported this week that Smith and the Justice Department are trying to
“wind down” the federal criminal cases against Trump before he returns to the
White House in January, in order to comply with its long-standing policy not to
prosecute sitting presidents.
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More in Politics
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                     Lady Gaga’s dad reveals their relationship has been ‘dicey’ since he ‘came
                     out as a Republican’
                     The Independent

                     Trump still hasn’t signed ethics agreement required for presidential
                     transition
                     CNN

                     Nikki Haley responds to Trump’s announcement that she’s not welcome
                     back in his second administration
                     The Independent


    “What I will tell you… is that Jack Smith violated the Constitution,” Luna said.
    “And I’m really happy that Jim Jordan and the House Judiciary is telling him to
    preserve evidence because even after President Trump is elected, we need to
    ensure that this never happens to any other candidate for president ever again.”
    She added: “And so we have to follow through, see who exactly ordered that," she
    continued. "And if it means that we need to bring criminal prosecution, I think that
    we need to.”




Top Stories Dems' working-class exodus   Deathbed discussion   1974 killer found   Paint colors and home valu
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   It was recently reported that Jack Smith (pictured) and the Justice Department are trying to ‘wind
   down’ the federal criminal cases against Trump before he returns to the White House (AFP via Getty...More

   Their comments stopped short of shocking remarks previously aired on Fox, in
   which hosts Dana Perino and Greg Gutfeld joked that Smith and others who had
   prosecuted Trump should receive the death penalty.
                                                    ADVERTISEMENT



   “Dana… a lot of the people that were on this and wanted it so badly, how are they
   going to survive? Do you think they need therapy,” Gutfeld asked Perino.
   “Yes, they definitely need therapy,” the former White House press secretary
   responded. “Maybe also the death penalty?”

                                               View comments (177)

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